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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION



                                            Civ. A. No. 1:18-cv-01713
IN RE AKORN, INC. DATA INTEGRITY
SECURITIES LITIGATION                       Hon. Matthew F. Kennelly




   SECOND CONSOLIDATED AMENDED CLASS ACTION COMPLAINT FOR
           VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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       Court-appointed lead plaintiffs Gabelli & Co. Investment Advisors, Inc. and Gabelli Funds,

LLC (collectively, “Plaintiffs”) bring this action pursuant to Sections 10(b) and 20(a) of the

Securities Exchange Act of 1934 (the “Exchange Act”) on behalf of themselves and all other

persons or entities who purchased or otherwise acquired the common stock of defendant Akorn,

Inc. (“Akorn” or the “Company”) during the period from November 3, 2016 through January 8,

2019, inclusive (the “Class Period”) and were damaged thereby (the “Class”).

       Plaintiffs allege the following based upon personal knowledge as to Plaintiffs’ own acts,

and information and belief as to all other matters. Plaintiffs’ information and belief is based upon

an ongoing independent investigation by Plaintiffs’ undersigned counsel, which includes, among

other things, review and analyses of: (i) Akorn’s public documents, conference calls and other

public statements; (ii) the Company’s filings with the United States Securities and Exchange

Commission (“SEC”) and the United States Food and Drug Administration (“FDA”); (iii) wire

and press releases published by and regarding the Company; (iv) analyst reports and other market

information about the Company; and (v) the verified pleadings, trial transcript and exhibits, pre-

and post-trial briefing, and the court’s findings filed in Akorn, Inc. v. Fresenius Kabi AG, No.

2018-0300-JTL (Del. Ch.) (the “Delaware Litigation”).

       Counsel’s investigation into the factual allegations continues, and many of the relevant

facts are known only by defendants or are exclusively within defendants’ custody or control.

       Plaintiffs believe that substantial additional evidence supporting the allegations set forth

herein will be uncovered during discovery.
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I.       INTRODUCTION

         1.     After the close of the market on February 26, 2018, Fresenius Kabi AG

(“Fresenius”), a German health care giant (and member of the Global 500) that had entered into

an April 24, 2017 Agreement and Plan of Merger (the “Merger Agreement”) to acquire Akorn for

$34.00 per share (the “Merger”), announced it was “conducting an independent investigation,

using external experts, into alleged breaches of FDA data integrity requirements relating to product

development at Akorn, Inc.” The announcement further stated that “consummation of the [Merger]

may be affected if the closing conditions under the merger agreement are not met.”

         2.     In response, Akorn issued a press release differently characterizing the inquiry into

its data integrity as a “joint investigation,” and claiming the investigation had not uncovered any

facts that would affect the Company’s operations or the closing of the Merger:

                Akorn and Fresenius Kabi AG, with the assistance of outside
                consultants, are investigating alleged breaches of FDA data
                integrity requirements relating to product development at the
                Company. To date, the Company’s investigation has not found any
                facts that would result in a material impact on Akorn’s operations
                and the Company does not believe this investigation should affect
                the closing of the [merger] with Fresenius.

         3.     As described herein, for a pharmaceutical company such as Akorn, compliance with

FDA data integrity requirements is a cornerstone of its business. Indeed, such compliance is

required to gain FDA approval of new products in its pipeline, without which the business cannot

survive. Accordingly, despite Akorn’s denial, the market reacted immediately and decisively to

Fresenius’ announcement of potential data integrity problems at Akorn. On February 27, 2018,

Akorn’s common stock price dropped 38.4%, costing non-insider shareholders more than $1.07

billion in value. On February 28, 2018, Akorn’s common stock price fell an additional 9.1%,

costing non-insider shareholders another $157.6 million in value.



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       4.      This case arises because Akorn and certain of its senior executives and board

members knew or recklessly disregarded widespread institutional data integrity problems at

Akorn’s manufacturing and research and development facilities, while at the same time making or

causing Akorn to make contrary misleading statements and omissions of material fact concerning

the Company’s data integrity at these facilities in order to attempt to market and sell Akorn.

       5.      As described herein, before and during the Class Period, Akorn’s senior executives

and certain board members received multiple internal audit reports and reports from third-party

consultants cataloguing the Company’s egregious data integrity failures and, remarkably, were

even aware of instances where Akorn submitted falsified data to the FDA. For instance, Akorn’s

internal audit function Global Quality Control (“GQC”) found in April 2016 that Akorn had

“unmitigated compliance risks associated with Data Integrity.” Defendant Rajat Rai, who was

Akorn’s Chief Executive Officer throughout the Class Period, likewise has conceded that by no

later than November 2016 he and members of the Akorn Board of Directors (“Board”) were “aware

of significant and repeat problems that Akorn was having in its quality function.”

       6.      These “significant and repeat problems” were not isolated. One of the principals at

a third-party consultant hired to audit Akorn’s compliance prior to the beginning of the Class

Period testified in the Delaware Litigation (which, as described below, was litigated in the

Delaware Court of Chancery and Delaware Supreme Court between Akorn and Fresenius

concerning the Merger Agreement) that Akorn was among the top “two [or] three” worst drug

companies among more than 120 he had audited in his career, and that he would not expect to see

such egregious data integrity violations “at a company that made Styrofoam cups,” let alone sterile

pharmaceutical products. Reports issued by this consultant detailing the profound and pervasive




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data integrity violations it observed were distributed to Akorn’s most senior executives, including

CEO Rajat Rai and the former Head of Quality at Akorn, Mark Silverberg.

       7.      Moreover, on January 12, 2017, Akorn’s senior executives, including senior

executives Rai, Silverberg and CFO Duane Portwood (the “Executive Defendants”), received the

results of a 2016 employee survey, which included quotes from an employee based in Akorn’s

Lake Forest headquarters stating that Silverberg “provided misleading information to regulatory

bodies including the US FDA.” The Lake Forest employee also wrote that Akorn’s Head of

Quality “counselled his staff to not speak to Global Quality Compliance staff and . . . not [to]

share information with GQC.”

       8.      Nevertheless, no later than the beginning of the Class Period on November 3, 2016

– and including in the May 2017 proxy materials for the Merger – Akorn, the Executive Defendants

and certain board members repeatedly caused the Company to issue false and misleading

statements or omissions of material fact, including statements and omissions:

       (1)     Falsely representing that Akorn substantially complied with applicable FDA
               regulations governing the testing and manufacturing of its drugs, when in
               fact senior executives and certain board members knew of or recklessly
               disregarded Akorn’s systemic data integrity failures; and

       (2)     Misleadingly touting Akorn’s putatively lucrative drug product pipeline,
               while failing to disclose that the Company’s pervasive and egregious data
               integrity failures, which included the submission of fraudulent data to the
               FDA, posed a serious risk to the Company’s ability to seek approval for,
               and ultimately market, those pipeline drugs.

       9.      For example, on a November 3, 2016 earnings call with investors, Rai falsely

assuaged market concern about Akorn’s compliance with FDA regulations, repeatedly assuring

investors that Akorn’s key facility in Decatur was “ready for [an FDA] reinspection” and that “no

remediation” of regulatory deficiencies was required. In truth, as Rai admitted under oath, both




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he and members of the Board were “aware of significant and repeat problems that Akorn was

having in its quality function.”

       10.     Likewise, on December 12, 2016, Akorn filed a Form 8-K with the SEC – signed

by Defendant Portwood – concerning the results of the FDA’s inspection of the Company’s

manufacturing facility in Decatur, Illinois. Akorn touted the fact that the FDA inspectors did not

report any objectionable conditions with the respect to the manufacturing or storage of the

Company’s drugs. However, Defendants knew that Akorn’s third-party consultant had issued a

report to Defendants just days earlier revealing that Decatur’s data integrity controls were

“insufficient to support compliance with current data integrity expectations” – citing seven

“critical” and seven “major” data integrity deficiencies – and, “[a]s a result, Akorn currently

shoulders significant regulatory and negative public perception risk.”

       11.      Similarly, during a March 1, 2017 earnings call, Defendant Rai touted the FDA’s

recent approval of an Abbreviated New Drug Application (known in industry parlance as an

“ANDA”) from the Decatur facility as demonstrating the Company’s ability to obtain approval for

its pipeline drugs: “we have received . . . our first ANDA approval from the Decatur facility since

the reinspection. This implies that we should now expect to receive approvals for other filings . .

. from our Decatur facility that was delayed due to the compliance status.” However, Defendants

knew that, notwithstanding the FDA investigators’ failure to observe non-compliant conditions,

the Decatur facility was rife with violations, Akorn had submitted false and manipulated data to

the FDA, and that the Company’s consultant had reported seven “critical” and seven “major” data

integrity deficiencies at Decatur alone.

       12.     Notably, on May 22, 2017 Akorn filed its Proxy Statement on Schedule 14A in

connection with the shareholder vote on the proposed Merger (the “Vote”). This Proxy Statement



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– which caused investors to acquire common stock of the Company and shareholders to vote to

approve the Merger – itself contained and incorporated by reference Akorn documents that

contained misleading statements and omissions of material facts, including statements in the

Merger Agreement. In these statements, for example, Defendants assured investors that Akorn

was materially compliant with FDA regulations, particularly data integrity requirements, and that

Akorn’s FDA filings contained no material misstatements or omissions. These representations

were utterly false.

         13.     Defendants’ misleading statements and omissions of material facts concealing

Akorn’s abysmal data integrity practices had the intended effect. Defendants were able to market

the Company and ultimately enter the Merger Agreement at a price per share which would have,

had Fresenius not later uncovered Akorn’s data integrity problems, netted the Executive

Defendants and Board Defendants more than $1 billion in Merger proceeds.

         14.     Unfortunately, as set forth in extensive factual detail herein, and as characterized in

Fresenius’ Answer, Defenses, and Verified Counterclaim in the Delaware Litigation, Fresenius’

investigation uncovered “blatant fraud at the very top level of Akorn’s executive team, stunning

evidence of blatant and pervasive data integrity violations, outrageous attempts by and on behalf

of Akorn to cover up those violations and misrepresentations made both to Fresenius and the

FDA.” Indeed, Fresenius’ investigation revealed that “Akorn has repeatedly failed to comply with

even the most basic data integrity requirements.” 1

         15.     Consequently, on Sunday, April 22, 2018, Fresenius announced it was terminating

the Merger based on, among other factors, “material breaches of FDA data integrity requirements




1
    Unless otherwise noted, emphasis in quoted materials herein is added.

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relating to Akorn's operations found during Fresenius’ independent investigation.” Fresenius

stated that it “offered to delay its decision in order to allow Akorn additional opportunity to

complete its own investigation and present any information it wished Fresenius to consider, but

Akorn [ ] declined that offer.”

       16.     The next trading day, April 23, 2018, Akorn’s common stock price dropped an

additional 33.7%, costing non-insider shareholders another $613.1 million in value.

       17.     On October 1, 2018, the Delaware Court of Chancery ruled in favor of Fresenius.

In the court’s 246-page Memorandum and Opinion, which explicitly cited hundreds of non-public

trial exhibits and referred to hundreds more which were admitted into evidence as well as fifty-

four deposition transcripts lodged with the Court, the Court of Chancery concluded, among other

things, that “Akorn has gone from representing itself as an FDA-compliant company with accurate

and reliable submissions from compliant testing practices to a company in persistent, serious

violation of FDA requirements with a disastrous culture of noncompliance.”

       18.     The revelations in the court’s finding of facts caused Akorn’s stock price to fall

58.7%, from $12.98 per share at close on September 28, 2018 to $5.36 per share at close on

October 1, 2018.

       19.     On January 9, 2019, Akorn disclosed that it received a warning letter, dated January

4, from the FDA related to an inspection of Akorn’s Decatur, Illinois manufacturing facility in

April and May of 2018. Among other things, the warning letter stated that Akorn’s “methods,

facilities, or controls for manufacturing, process, packing, or holding do not conform to CMGP”

regulations.

       20.     The revelation of the warning letter caused Akorn’s stock price to fall 11.6%, from

$3.94 per share at close on January 8, 2019 to $3.48 per share at close on January 9, 2019.



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        21.         Significantly, Plaintiffs do not bring this class action on behalf of investors solely

because of the failure of the Merger. Although the Merger and Fresenius’ investigation were the

catalysts to revealing Defendants’ fraudulent conduct, before the Merger was even announced

Defendants concealed the underlying data integrity violations that remain a factor in Akorn’s

depressed stock price even compared to the price pre-Merger announcement. Indeed, on April 18,

2019, Akorn’s stock price closed at $2.77 per share, 90% below its $25.22 per share closing price

on April 6, 2017, the day before Bloomberg reported that Fresenius was “in talks” to buy Akorn.

II.     JURISDICTION AND VENUE

        22.         This Court has jurisdiction over the subject matter of this action pursuant to Section

27 of the Exchange Act, 15 U.S.C. § 78aa. In addition, because this is a civil action arising under

the laws of the United States, this Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337.

        23.         Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

the Exchange Act, 15 U.S.C. § 78aa, as Defendant Akorn conducts business and is headquartered

in this District and many of the acts and transactions that constitute violations of law complained

of herein, including the dissemination to the public of untrue statements of material facts and

statements that omitted material facts necessary to make the statements not misleading occurred

in this district.

        24.         In connection with the acts alleged herein, Defendants, directly or indirectly, used

the means and instrumentalities of interstate commerce, including but not limited to the mails,

interstate telephone communications, and the facilities of a national securities exchange.

III.    PARTIES

        A.          Plaintiffs

        25.         Plaintiff Gabelli & Co. Investment Advisors, Inc. (“GCIA”) is an investment

management company located in Rye, New York. GCIA offers portfolio management, financial
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planning and investment advisory services to clients worldwide. For purposes of Claims I and II,

as set forth in the attached certification, GCIA purchased Akorn common stock during the Class

Period and was damaged thereby.

       26.     Plaintiff Gabelli Funds, LLC (“GFLLC”) is an investment manager located in Rye,

New York. GFLLC provides services to investment companies and pooled investment vehicles,

and manages equity, fixed income, and balanced mutual funds. For purposes of Claims I and II,

as set forth in the attached certification, GFLLC purchased Akorn common stock during the Class

Period and was damaged thereby.

       27.     GCIA and GFLLC are Plaintiffs for both Claims I and II under Sections 10(b) and

20(a) of the Exchange Act on behalf of common stock purchasers .

       B.      The Corporate Defendant

       28.     Defendant Akorn, Inc. is a Louisiana corporation with its headquarters located in

Lake Forest, Illinois. Akorn is a pharmaceutical company that develops, manufactures and markets

generic and branded prescription pharmaceuticals as well as animal and consumer health products.

Akorn claims to specialize in difficult-to-manufacture sterile and non-sterile dosage forms

including: ophthalmics, injectables, oral liquids, otics, topicals, inhalants, and nasal sprays.

       29.     Akorn operates manufacturing facilities in Decatur, IL; Somerset, NJ; Amityville,

NY; Hettlingen, Switzerland and has recently opened a manufacturing facility in Paonta Sahib,

India. The Company also has research and development facilities in Vernon Hills, IL; Cranbury,

NJ and Copiague, NY.

       30.     Akorn securities trade on the NASDAQ under the ticker symbol “AKRX.” As of




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September 28, 2018, there were over 125 million shares of Akorn common stock outstanding.

       31.     Akorn is named in Count I for violations of Section 10(b) of the Exchange Act.

       C.      The Executive Defendants

       32.     Defendant Rajat Rai (“Rai”) was Akorn’s Chief Executive Officer (“CEO”), a

position he held from May 2010 through December 2018. During the Class Period, Defendant Rai

signed filings Akorn made with the SEC that included untrue statements of material fact and/or

omitted material facts necessary to make statements in the filings not misleading, as well as

certifications attesting to the accuracy of the filings. Defendant Rai also made untrue statements

of material fact and/or omitted material facts necessary to make statements not misleading during

Akorn earnings calls and investor presentations. Defendant Rai was, at all relevant times, a control

person of Akorn. Rai also signed the false and misleading Proxy Statement and Proxy Supplement

described herein that is the basis for the Proxy Claims.

       33.     Defendant Duane A. Portwood (“Portwood”) is Akorn’s Chief Financial Officer

(“CFO”), a position he has held since October 2015. During the Class Period, Defendant Portwood

signed filings Akorn made with the SEC that included untrue statements of material fact and/or

omitted material facts necessary to make statements in the filings not misleading, as well as

certifications attesting to the accuracy of the filings. Defendant Portwood also made untrue

statements of material fact and/or omitted material facts necessary to make statements not

misleading during Akorn earnings calls and investor presentations. Defendant Portwood was, at

all relevant times, a control person of Akorn.

       34.     Defendants Rai and Portwood, are sometimes referred to herein as the “Executive

Defendants.”

       35.     The Executive Defendants are named in Count I for violations of Section 10(b) of

the Exchange Act and in Count II for violations of Section 20(a) of the Exchange Act.
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       D.      The Board Defendants

       36.     Defendant Alan Weinstein (“Weinstein”) has been a member of Akorn’s Board

since 2009, currently serves as Chairman of the Board, and signed Akorn’s annual reports on SEC

Form 10-K that were filed or incorporated by reference in Akorn’s other filings during the Class

Period, which contained misleading statements or omissions of material fact. Defendant Weinstein

was at all relevant times a member of Akorn’s Board of Directors Quality Oversight Committee

(the “Quality Oversight Committee”) and, as set forth herein, in that capacity and in his capacity

as a Board member received reports and other information concerning Akorn’s data integrity

failures. Defendant Weinstein was also a member of the Board at the time the Proxy Statement

and Supplement were issued and at the time of the Vote. As a member of the Board, Weinstein

issued the Proxy Statement and Proxy Supplement. Indeed, the Proxy Statement and Proxy

Supplement stated that they were issued “By Order of the Board of Directors” of Akorn and “as

part of the solicitation of proxies by the Company’s board of directors.”

       37.     Defendant Ronald M. Johnson (“Johnson”) has been a member of the Board since

2003, and signed Akorn’s annual reports on SEC Form 10-K that were filed or incorporated by

reference in Akorn’s other filings during the Class Period, which contained misleading statements

or omissions of material fact. Defendant Johnson was at all relevant times a member of the Quality

Oversight Committee and, as set forth herein, in that capacity and in his capacity as a Board

member received reports and other information concerning Akorn’s data integrity failures.

Defendant Johnson was also a member of the Board at the time the Proxy Statement and

Supplement were issued and at the time of the Vote. As a member of the Board, Johnson issued

the Proxy Statement and Proxy Supplement. Indeed, the Proxy Statement and Proxy Supplement

stated that they were issued “By Order of the Board of Directors” of Akorn and “as part of the

solicitation of proxies by the Company’s board of directors.”
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       38.     Defendant Brian Tambi (“Tambi”) has been a member of the Board since 2009, and

signed Akorn’s annual reports on SEC Form 10-K that were filed or incorporated by reference in

Akorn’s other filings during the Class Period, which contained misleading statements or omissions

of material fact. Defendant Johnson was at all relevant times a member of the Quality Oversight

Committee and, as set forth herein, in that capacity and in his capacity as a Board member received

reports and other information concerning Akorn’s data integrity failures. Defendant Johnson was

also a member of the Board at the time the Proxy Statement and Supplement were issued and at

the time of the Vote. As a member of the Board, Johnson issued the Proxy Statement and Proxy

Supplement. Indeed, the Proxy Statement and Proxy Supplement stated that they were issued “By

Order of the Board of Directors” of Akorn and “as part of the solicitation of proxies by the

Company’s board of directors.”

       39.     Defendants Weinstein, Johnson, and Tambi are referred to herein as the “Board

Defendants” and are named in Count I for violations of Section 10(b) of the Exchange Act and

Count II for violations of Section 20(a) of the Exchange Act.

       40.     Akorn, the Executive Defendants, and the Board Defendants are collectively

referred to herein as the “Defendants.”

       E.      Relevant Non-Party Silverberg

       41.     Mark M. Silverberg (“Silverberg”) joined Akorn in April 2005 and – from May

2006 until his demotion on March 1, 2018 – served as the Company’s Executive Vice President of

Global Quality Assurance. In this role, Mr. Silverberg was the most senior quality official at

Akorn, reported directly to Mr. Rai and oversaw more than 500 employees at the Company.

Silverberg was a control person of Akorn while he served as its most senior quality official at

Akorn. Silverberg is not named as a defendant in this Second Consolidated Amended Class Action

Complaint.
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IV.    FACTUAL BACKGROUND

       A.      The FDA’s cGMP and Data Integrity Regulations

       42.     Akorn represents itself to be a niche pharmaceutical company that develops,

manufactures and markets generic prescription pharmaceuticals, purportedly specializing in

difficult-to-manufacture and high-margin sterile and non-sterile dosage forms.

       43.     As a generic pharmaceutical company, Akorn is closely regulated by the Food and

Drug Administration. Akorn must submit an application to the FDA for approval of its drugs,

called an Abbreviated New Drug Application, which, among other things, adequately demonstrates

its generic drug is equivalent to the original “branded” drug (known as the “reference listed drug”).

This testing is critical, as Akorn must prove to the FDA that it can manufacture a safe and effective

product. Many of Akorn’s drugs are used to treat serious medical conditions, and patient health

would be jeopardized if Akorn’s products are not safe and effective for their intended use. Indeed,

many of Akorn’s drugs are injectables that the FDA considers to be especially high-risk.

       44.     Akorn must file its testing data with the FDA in an ANDA when seeking approval

for a new product, and that filing must be supported by laboratory notebooks and electronic

records. Companies have an affirmative duty to ensure data submitted to the FDA is accurate. The

FDA’s ANDA form specifically requires a “responsible official” to certify that the “data and

information in this submission have been reviewed and, to the best of my knowledge, are certified

to be true and accurate.” The ANDA form warns that false statements in an ANDA can lead to

felony criminal liability. Compliance with specific quality-control requirements concerning the

development and manufacturing of drug products, called current Good Manufacturing Practices

(“cGMP”), which include data integrity requirements, is necessary for a pharmaceutical company

to receive approvals for its new products.



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        45.    Likewise, cGMP requires drug companies to routinely test and monitor the quality

of manufactured products and the integrity of the manufacturing process, even after a drug has

been approved.    If a company fails to comply with cGMP, the FDA may prevent it from

manufacturing approved products until any deficiencies are remediated.

        46.    The FDA must necessarily rely on data generated and provided by Akorn and other

pharmaceutical companies in making important public health decisions about both proposed new

drugs and drugs currently on the market. As a result, the FDA mandates that Akorn and other

companies follow cGMP.        The cGMP regulations set forth “the minimum current good

manufacturing practice for methods to be used in . . . the manufacture, processing, packing, or

holding of a drug.” 21 C.F.R. § 210.1(a). These requirements are codified, in part, at 21 C.F.R.

Pt. 11, 21 C.F.R. Pt. 211, and in additional FDA guidance, including its April 2016 “Data Integrity

and Compliance with cGMP” draft guidance.

        47.    “Data integrity” requirements are a key element of the FDA’s cGMP regulations.

The FDA’s data integrity requirements are designed to ensure that the testing data is complete,

consistent, accurate and free from fraudulent or improper manipulation. These data integrity

requirements include, for example, implementing procedures to retain testing data in a methodical

and retrievable manner; ensuring that data cannot be modified, deleted or lost (including by

restricting users’ access to computer systems so that they cannot modify or delete data); and

recording and periodically reviewing logs of individual users’ actions on computer systems (“audit

trails”).

        48.    FDA guidance uses the acronym “ALCOA” to summarize proper data integrity

practices. In accordance with the acronym, companies must ensure data is:




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       o       Attributable – Attributable data is data clearly linked to a specific subject,
               and to the individuals who recorded, analyzed, or otherwise modified the
               data;

       o       Legible – Legible data is that which is readable by humans throughout the
               period of its retention;

       o       Contemporaneous – Contemporaneous data is data that is recorded at the
               time it is generated or observed;

       o       Original – Original data refers to the original observation, or certified or
               true copy of that observation; and

       o       Accurate – Accurate data is data that is correct.

       49.     More recently, the FDA has expanded the acronym to “ALCOA Plus”, which adds

the additional requirements that data be complete (meaning all data is available), consistent (the

data is recorded chronologically), enduring (the data is accessible for an extended period of time)

and available (the data is available through the lifetime of the product).

       50.     The FDA insists on rigorous data integrity requirements because data integrity is

essential to ensure that testing data is neither lost nor manipulated, and, as a result, data integrity

is required to ensure product safety and efficacy. The FDA has emphasized that “ensuring data

integrity is an important component of [the pharmaceutical industry’s] responsibility to ensure the

safety, efficacy, and quality of drugs, and FDA’s ability to protect the public health.” (FDA, Draft

Guidance for Industry, Data Integrity and Compliance with CGMP (2016), at 1). If companies

violate data integrity requirements, there can be no assurance that their testing data is complete,

consistent, accurate and free from fraudulent or improper manipulation.

       51.     The FDA has emphasized that companies that violate data integrity requirements

face severe sanctions. Indeed, in draft guidance issued before the start of the Class Period, the

FDA noted that “data integrity-related CGMP violations have led to numerous regulatory actions,

including warning letters, import alerts, and consent decrees.” In particular, the FDA has noted

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that it “rel[ies] on firms to do the right thing when [the] FDA is not present,” and data integrity

problems “break trust” between an agency and a regulated entity. 2

         52.   In the Delaware Litigation, former FDA Director David Chesney testified that a

firm’s “corporate culture” is a “hot topic” in regulatory compliance circles and that the FDA

“attaches a great deal of significance” to a firm’s quality culture, especially the leadership of a

firm’s senior management. Chesney testified that when senior executives are involved in data

integrity violations, it can “infect the entire organization” and lead to stiffer sanctions from the

FDA.

         53.   The FDA regularly inspects companies’ manufacturing and R&D sites to ensure

compliance with cGMP and other regulatory requirements. The FDA investigator will issue a

Form 483 to a company at the conclusion of an inspection when the investigator has observed

conditions that may constitute violations of the Food Drug and Cosmetic (FD&C) Act and related

acts or regulations. Companies must provide the FDA with written responses to Form 483

observations within 15 working days setting forth proposed corrective actions. If the FDA

determines that the Form 483 response is inadequate, the agency may issue a formal Warning

Letter noting possible enforcement actions.

         54.   When the FDA concludes an inspection, it reports one of three things: Official

Action Indicated (OAI), Voluntary Action Indicated (VAI), or No Action Indicated (NAI). The

most serious of these findings is OAI status, which, as Akorn’s Kim Wasserkrug (VP of Quality

Operations) testified in the Delaware Litigation, “means FDA has some concerns with the




2
 Capt. Sharon K. Pederson (Thoma), PharmD, National Expert of Pharmaceutical Inspections,
FDA, Medical Products and Tobacco Program Operations Branch, Data Integrity Issues &
Concerns (Feb. 6, 2017).

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conditions that they found during inspection. And it typically means that you will not get product

approvals during that time frame.”

       55.     If the FDA uncovers pervasive or egregious data integrity violations, it may impose

even more serious sanctions. In particular, FDA regulations provide that where the agency

uncovers “a pattern or practice of wrongful conduct that raises a significant question about the

reliability of data,” the agency may invoke its “Application Integrity Policy” (“AIP”), which

requires a third-party monitor to oversee all activity at the violator’s sites and facilities. Regaining

the FDA’s trust and remediating data integrity violations is invariably a difficult, time-consuming

and expensive process. Thus, a failure to adhere to the FDA’s data integrity requirement can have

serious, potentially crippling, effects on a company’s ability to get its drugs approved and

marketed.

       B.      Akorn’s Product Pipeline

       56.     Akorn has consistently emphasized to the market and potential acquirers the

importance to its business of the pipeline of new products it is developing and for which it is

seeking manufacturing and marketing approval from the FDA through ANDAs. Receiving timely

approvals from the FDA is necessary for Akorn to convert its pipeline into marketed products that

generate revenues and earnings.

       57.     Defendant Rai has spoken repeatedly about the importance of pipeline products to

Akorn’s business. For example, during an earnings call in August 2016, Rai explained: “New

product approvals and launches are going – and the execution of that is going to be very critical

going forward, and that’s where our focus is.” In Akorn’s November 2016 earnings call, Rai

reiterated that “product pipeline opportunities [] can potentially offset the expected converted

market dynamics for our marketed products.”



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       58.      Akorn’s presentations to investors have also regularly emphasized its product

pipeline.    For example, in Akorn’s June 9, 2016 presentation at the Jefferies Healthcare

Conference, Akorn touted its “large pipeline of pending ANDAs and planned launches” and

advertised its “commitment to growth through research & development.” The Company repeated

these exact statements at its presentation at the William Blair 36th Annual Growth Stock

Conference and at its January 2017 presentation at the J.P. Morgan 35th Annual Healthcare

Conference. At the J.P. Morgan Conference, Akorn also explained that it had 92 filings pending

with the FDA with a potential market value of $9.5 billion.

       59.      Market analysts have similarly concluded that the viability of Akorn’s product

pipeline is essential to the Company’s value. For example, an August 2016 Jefferies research

report observed that “monetizing the pipeline is absolutely critical for AKRX to be able to show

meaningful revenue growth in 2017.” In January 2017, Jefferies reiterated that, given the declining

sales of Akorn’s existing products, “[n]ew product flow is now even more critical to AKRX’s 2017

outlook and share price.”

       60.      On an earnings call in March 2017, less than a month before the Merger Agreement

was signed, Rai again predicted that sales for some of Akorn’s top existing products would

decrease, and as a result “we will try to sort of reverse course in terms of the declines in revenues.

And that is all, in my opinion, going to come from these launches of new products. So I think you

will see a bit of an impact of the new product approvals and launches going into 2018.”

       61.      Akorn’s product pipeline is directly contingent on receiving timely marketing

approvals from the FDA (and, by extension, compliance with the FDA regulations and guidelines).

The first generic drug manufacturer to market is typically awarded 180 days of statutory marketing

exclusivity for a product before other competitors can begin distributing their version of the



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product. This 180-day exclusivity period allows the manufacturer to sell the drug at increased

margins and to establish market share. At some point, after a number of generic manufacturers are

already present, the market is no longer viable for new entrants.

        62.    Unbeknownst to investors, Akorn was rife with data integrity failures that qualified

for serious penalties under FDA regulations, and, therefore, profoundly imperiled the Company’s

financial well-being. As discussed in greater detail below, by no later than November 2016,

Akorn’s senior management became aware of – and in some instances were directly involved in –

systemic and egregious data integrity failures throughout Akorn’s manufacturing and R&D sites.

These widespread data integrity problems, including knowingly submitting fraudulent data to the

FDA and Company-wide noncompliance with numerous FDA regulations, directly put Akorn’s

new product pipeline at risk.

        C.     Akorn’s History of Submitting False Data to the FDA

        63.    Even before the start of the Class Period, Defendants knew that Akorn was rife with

numerous severe, repeat, and pervasive data integrity violations. For example, Akorn discovered

by mid-2016 that on several occasions since 2012 the Company had submitted false data to the

FDA.

        64.    In December 2012, Akorn submitted fraudulent test results to the FDA in an ANDA

for an antibiotic named azithromycin. The lab supervisor at Akorn’s Somerset facility, Jim

Burkert, forged the purported results for azithromycin tests in the lab notebook of a colleague.

Indeed, Akorn’s Somerset facility did not even have the technology necessary to conduct the

purported tests. This fabricated test data was submitted to the FDA in an ANDA on December 21,

2012.

        65.    Also in 2012, Akorn submitted manipulated testing data in connection with its

ANDA for an eye medication, olopatadine. The FDA’s data integrity regulations require drug
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companies to record all results of drug testing, whatever the outcome, and to investigate any failing

results. The FDA specifically prohibits “testing into compliance” – the practice of successively

testing a drug until a passing result is achieved and reporting only that passing result, while

disregarding the failing results. Akorn engaged in the proscribed practice of “testing into

compliance” during the testing for olopatadine at Akorn’s Cranbury facility, running successive

“stability tests” – tests that measure the drug’s integrity under various temporal and environmental

conditions – until it achieved positive results. Akorn then submitted those positive results, but did

not disclose the corresponding out-of-specification results, in its ANDA.

       66.     As explained in Fresenius’ pre-trial brief (quoting non-public joint trial exhibits),

at Akorn’s Vernon Hills facility in 2013 an employee made a “deliberate change” in a testing

procedure “to force a passing result” for data related to another eye drop product,

cyclopentolate. In this regard, Akorn’s Kim Wasserkrug testified in the Delaware Litigation that

the employee improperly “manipulat[ed] the integration to get a passing result.” This is a third

instance, at a third separate Akorn facility, of Akorn fabricating data that was submitted to the

FDA. This pattern of data fraud involving multiple sites and multiple employees underscores the

pervasiveness and repetitiveness of Akorn’s profound data integrity failures.

       67.     In January 2015, Akorn received from the FDA a Complete Response Letter

(“CRL”) – a communication identifying issues that must be addressed before the FDA can approve

an application – concerning its azithromycin ANDA. Among other things, the FDA’s CRL asked

Akorn to provide additional azithromycin test data to facilitate approval of the ANDA.

       68.     While drafting its response to the CRL, Akorn senior executives learned that the

Company had submitted fraudulent data to the FDA in 2012. As Akorn attorney and partner at

Cravath Swaine & Moore LLP (“Cravath”) David Stuart testified in the Delaware Litigation, in



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July 2016, Silverberg (who reported directly to Akorn CEO Defendant Rai) went to the Company’s

Somerset site in connection with preparing Akorn’s response to the CRL, and spoke with the

chemist whose notebook contained the fraudulent azithromycin data. The chemist identified

numerous entries in her notebook that were not made by her in connection with both azithromycin

and six other products. Indeed, as noted above, the forged azithromycin entries reported positive

results for a test that not only was not performed, but could not have been performed at the

Somerset site because the site lacked the required equipment to run it. The chemist also reported

that two of her lab notebooks were missing.

       69.     Despite learning of the falsified data in July 2016, Mr. Silverberg, who was Akorn’s

most senior quality official for over 10 years and oversaw more than 500 employees at the

Company, failed to report these clear violations of data integrity requirements to the FDA or to

direct the withdrawal of any of the fraudulent ANDAs. As discussed further below, rather than

report the fraudulent submission or withdraw the fraudulent ANDA, Silverberg instructed

employees at the Somerset facility not to open an investigation, knowing such an investigation

would jeopardize the closing of the Merger. At her deposition in the Delaware Litigation, Akorn’s

Head of Quality at Somerset, Misbah Sherwani, testified, “[W]hen I had pushed for an

investigation on this issue, [Silverberg] had told me no.”

       70.     Instead, in August of 2017, Akorn responded to the FDA’s CRL purporting to

provide the additional data requested by the FDA. Akorn’s response resubmitted the fabricated

2012 test results, and also included new, additional fabricated test results.      In advance of

submitting the response, both the Somerset General Manager, Michael Stehn, and Sherwani,

repeatedly urged Silverberg to withdraw the ANDA because it contained fabricated data, and

pointedly warned him that the CRL response also contained additional fabricated data – to no avail.



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Indeed, in an August 28, 2017 email, Sherwani asked Silverberg, “[a]re you allowing Regulatory

Affairs to continue to submit inaccurate information?”

       71.     Nevertheless, in August 2017, while Sherwani was on vacation, Silverberg

personally signed off on the azithromycin CRL response, which he knew contained multiple sets

of fabricated data. As Akorn conceded in its post-trial brief in the Delaware Litigation, its counsel,

Cravath, “determined that Silverberg had failed to discharge his responsibilities appropriately” and

“should not have allowed a CRL response to be submitted,” as well as that Silverberg “had no

satisfactory explanation for allowing a CRL response to be submitted while knowing that the

underlying ANDA likely contained false data.” Indeed, Cravath wrote a memo memorializing a

February 1, 2018 call with Akorn’s General Counsel Joe Bonaccorsi in which they stated that

“there’s a high likelihood . . . given the document trail that [FDA will] conclude [Silverberg] did

act with intent.”

       D.      Akorn Identified Systemic Data Integrity Problems in 2016

       72.     In addition to Akorn’s multiple fraudulent submissions to the FDA, by no later than

the start of the Class Period, Defendants were also aware of numerous other egregious and

pervasive data integrity violations. During 2016, Akorn’s internal audit function, Global Quality

Compliance (“GQC”), identified serious and widespread data integrity problems throughout the

Company. All of GQC’s audit reports detailing these widespread integrity problems were

distributed broadly to senior management, including Silverberg and Defendant Rai. Moreover, the

Company’s quality and compliance departments, including GQC, were overseen by a committee

of Akorn’s Board, called the Quality Oversight Committee. Members of the Committee included

Defendant Rai; Silverberg; Akorn’s COO; Board Defendants Weinstein, Johnson and Tambi; and

other top Akorn executives.



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       73.     In April 2016, GQC’s audit of Akorn’s Lake Forest site found Akorn staff members

had unauthorized “system access allowances” that allowed them to modify and manipulate data as

well as to delete audit trails. Moreover, among other things, GQC found that audit trails at Lake

Forest were not being reviewed for even basic data issues. As a result, GQC concluded that the

Lake Forest site had “unmitigated compliance risks associated with Data Integrity.”

       74.     In June 2016, GQC’s audit of Akorn’s Vernon Hills research and development

facility identified a critical data integrity issue involving Akorn’s failure to implement proper

controls for its computer systems. Specifically, Akorn had failed “to assure that only authorized

personnel make changes in master product and control records.” Likewise, the site was “unable

to record audit trails” and could not identify the users performing certain tests. Current Akorn VP

of Quality Operations Kim Wasserkrug testified in the Delaware Litigation that these are

“problem[s] that violate[] FDA guidelines.” Notably, Akorn has still failed to address these

critical issues. A September 2017 GQC audit found the same violations, reporting that the

corrective actions had “been halted and remain incomplete” and that the failure to remediate the

violations “presents undue risk to the site’s ongoing operations.” Moreover, in the Delaware

Litigation, Wasserkrug testified that Vernon Hills still lacks any data integrity compliance plan.

       75.     GQC also found numerous problems in an October 2016 audit of the Company’s

Amityville, NY manufacturing site. In GQC’s final report, dated December 28, 2016, GQC

observed that Akorn did not comply with 21 CFR 211.68(b), which states that “appropriate controls

shall be exercised over computer or related systems to assure those changes in master production

and control records or other records are instituted only by authorized personnel.” GQC found that

in connection with certainty viscosity tools, multiple users had administrator access, data files had

been overwritten, two unsaved tests were executed and several notebook entries were missing.



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Moreover, there was no instrument use log to record testing activity and no data backups had been

performed on certain instruments. GQC marked this observation as “critical,” and also reported

four additional “major” violations.

       76.     Notably, the equipment issues identified by GQC were directly related to issues the

FDA identified during an inspection in July 2015, more than a year prior to the GQC audit. Thus,

in its 2016 audit at the start of the Class Period, GQC found that, over 14 months after the FDA’s

inspection, Akorn had still failed to remediate these critical data integrity problems.

       77.     As discussed above, Akorn’s Board of Directors was intimately aware of GQC’s

internal audit findings. For example, in June 2016 Board Defendant Ron Johnson (who was a

member of the Quality Oversight Committee) wrote to Mark Silverberg that he continues “to be

concerned that our position always seems to be that the FDA got it wrong and we are just fine. I

do not think we are fine. I think there are signals that we are missing. As the leader of the quality

function, I do not understand how you can tolerate the continued non-compliance by employees,

supervisors and quality assurance staff. We have dogged [sic] a bullet a number of times, but at

some point, our number will be up unless we, once and for all, fix the underlying reasons why our

people do not adhere to procedures. Why do we not see an effort to do this?”

       78.     Defendant Rai himself has admitted that from the very start of the Class Period,

knowledge of Akorn’s severe and pervasive data integrity violations was widespread at the highest

levels of the Company. Rai testified in the Delaware Litigation that by November of 2016, the

start of the Class Period, he and the other Quality Oversight Committee members were “aware of

significant and repeat problems that Akorn was having in its quality function.”

       79.     Indeed, just weeks before the start of the Class Period, senior management made its

reckless disregard for data integrity abundantly clear. In October 2016, third-party consultant



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Cerulean, which had been hired to audit cGMP compliance at Akorn’s sites, conducted a data

integrity training specifically organized for senior management. However, not a single member of

senior management – including Rai – bothered to attend. At the same time, Akorn fraudulently

recorded an implausibly large number of trainings at sites in an effort to create the appearance of

compliance with the FDA’s cGMP training requirements. Cerulean noted that the “Akorn Decatur

site alone averages 7,000 trainings a month. Assuming each individual works 7 days a week, with

no vacations or sick leave, that’s 232 trainings a day.”

          E.    Akorn Begins to Explore a Sale in Early 2016

          80.   While aware of the ongoing data integrity crisis at the Company, Akorn executives

and its Board started to explore a sale of the Company. At a Board of Directors meeting on

February 17, 2016, Akorn’s Board decided that it would be in the “best interest of the Company

and its shareholders to explore strategic alternatives that could potentially increase shareholder

value.”

          81.   Akorn’s senior management and Board of Directors had an enormous stake in the

Company through their ownership of Akorn common stock and stock options. As of May 11,

2017, Silverberg and Executive Defendants Rai and Portwood respectively stood to gain over $9

million, $14 million, and $2.5 million from the Merger. In total, as of June 9, 2017, Akorn’s

Directors and Executive Officers (as defined in the Proxy) beneficially owned 32,557,918 Akorn

common shares (approximately 25.9% of the Company’s outstanding shares). These shares were

worth over $1.1 billion at the $34 merger price – more than a $285 million premium over the

shares’ value at the $25.22 per share closing price on April 6, 2017, the day before Bloomberg

reported that Fresenius was “in talks” to buy Akorn and Akorn issued a press releasing confirming

the discussions with Fresenius.



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       82.     Notably, Dr. John Kapoor – the former chairman of Akorn’s Board who resigned in

October 2017 after being criminally charged with leading a national conspiracy to bribe doctors to

overprescribe opioid pain medications – beneficially owned and controlled 22.8% of Akorn’s

common stock and was entitled to nominate up to three persons to serve on Akorn’s Board of

Directors.

       83.     Dr. Kapoor has a history of being affiliated with companies alleged to have

submitted false data to the FDA. Following Fujisawa USA’s (“Fujisawa”) 1989 acquisition of Dr.

Kapoor’s generic company Lyphomed, Fujisawa sued Dr. Kapoor alleging that his company – like

Akorn – knowingly submitted false data and failed to report certain adverse test results to the FDA

in advance of the Fuijsawa-Lyphomed merger. Indeed, in 1991 the FDA investigated Lyphomed,

which eventually resulted in the withdrawal of a number of Lyphomed’s drugs from the market

and a temporary ban on the submission of new ANDAs by the company.

       84.     Akorn increased its pursuit of a sale in the spring and early summer of 2016. These

efforts included meeting with representatives of several potential strategic merger partners,

including an international biopharmaceutical company, a U.S. pharmaceutical distribution

company and a diversified U.S. healthcare company. On July 27, 2016, Akorn’s Board approved

management’s recommendation to commence “a process to solicit proposals to acquire the

Company from potential strategic and financial counterparties.”

       F.      Akorn Reassures the Market About its Data Integrity Compliance

       85.     By the start of the Class Period in November 2016, investors were deeply concerned

about, and intensely focused on, Akorn’s cGMP compliance. On the Company’s August 4, 2016

earnings call, just a few months prior to the start of the Class Period, Rai told investors that FDA

inspectors issued a Form 483 – a document listing significant cGMP deficiencies observed by the



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inspector – to Akorn in connection with a June inspection of the Company’s Decatur, Illinois

facility (the “Decatur 483”).

       86.     Investors were particularly concerned by Rai’s announcement because the Decatur

facility was Akorn’s largest manufacturing site, originated an outsized portion – approximately

35% – of the ANDAs for the Company’s all-important drug pipeline, and was the principal

manufacturing site for Akorn’s high-margin injectable drugs. Moreover, Decatur was also the site

at which Akorn manufactured its most lucrative and important new drug, ephedrine sulfate, which

accounted for approximately 21% of Akorn’s second quarter 2016 net revenue and approximately

23% of Akorn’s third quarter 2016 net revenue. Thus, it would have been devastating to Akorn’s

business if the marketability or approvability of drugs originating from the Decatur site were

jeopardized by regulatory noncompliance.

       87.     However, when asked on the August 4, 2016 earnings call about the implications

of the Form 483 on Akorn’s business, Rai downplayed its significance. Rai told investors that the

FDA’s inspection resulted in only “a handful of observations,” and that “the observations that we

got were routine.” Rai further told investors that, in the wake of the inspection, its “business as

usual for us,” and that he was “very hopeful and confident that we’ll get through our response, the

review with the FDA . . . I don’t expect any issues at this point.” Further, when asked about the

timing of the reinspection, Rai calmed fears, stating that “there’s no reinspection. It is just our

responses are under review the FDA at this point.”

       88.     Rai’s assurances comforted investors. For instance, in an August 5, 2016 report,

JPMorgan analysts reiterated their “overweight” rating for Akorn common stock, stating that their

investment “thesis unchanged post 2Q” earnings call. Noting that “Akorn described [the FDA’s

observations] as routine” and that management “does not believe a re-inspection is needed at this



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point,” these analysts concluded, “we do not expect the 483 observations to impact Akorn’s

business.”

        89.     On November 3, 2016, the first day of the Class Period, Akorn held its third quarter

2016 earnings call and announced that, in fact, the FDA did intend to re-inspect the all-important

Decatur facility. In response to this news, analysts specifically pressed Defendants about the state

of Akorn’s regulatory compliance and its readiness for re-inspection. To allay investors’ concerns,

Defendants issued a number of false and misleading statements, assuring the market that Akorn’s

facilities complied with applicable regulations governing the testing and manufacturing of its

drugs, despite knowing, as Rai testified, “of significant and repeat problems that Akorn was

having in its quality function,” and that Cerulean had already concluded an audit of Akorn’s

cGMP compliance at the Decatur site, which, as described below, found deeply serious data

integrity failures.

        90.     Specifically, on Akorn’s third quarter 2016 earnings call, in response to analyst

questions asking whether Akorn “was ready for a re-inspection today or is there still more work to

be done,” Rai assured investors that the Decatur facility was in regulatory compliance, stating that

Akorn was “ready for the inspection.” Likewise, in response to another analyst’s question about

the number of employees hired to address cGMP deficiencies at the Decatur facility, Rai assured

investors that there were no meaningful cGMP deficiencies at the site and that “no remediation”

needed to done. Specifically, Rai responded, “I’m not sure what you mean by the hiring new

employees for remediation. I mean there is no remediation per se that we have to do in our Decatur

site if that’s what you were referring to.”

        91.     Defendants again calmed worries about Akorn’s compliance with cGMP and its

readiness for the Decatur re-inspection during a November 29, 2016 presentation at the Piper



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Jaffray Healthcare Conference. At that conference, Portwood responded to repeated analyst

questions about Akorn’s cGMP compliance by stating that Akorn “was ready for [the FDA]

whenever they do show up,” that “there’s nothing really more for us to do” in terms of cGMP-

related remediation, and that the “work” of “operat[ing] under cGMP type standards . . . has been

done.”

         92.   Defendants’ statements soothed the market. For instance, in a November 3, 2016

report, Piper Jaffray analysis reiterated their “overweight rating,” stating that they “would not be

overly anxious about the Decatur inspection” because “management’s commentary on this front

suggests to us that this will not turn into a long-term issue” and that “[m]anagement noted that it

. . . is ready/prepared for the reinspection.” Similarly, in a November 7, 2016 report Deutsche

Bank analysts upgraded Akorn stock to a buy in the wake of Defendants’ statements:          “Given

management’s confidence that clearing Decatur is a when not an if, we like the set up for the

stock from here, and are moving to a Buy rating (our PT remains $28).”

         93.   As discussed further below, Defendants continued to issue false and misleading

statements assuring investors that Akorn substantially complied with cGMP regulations

throughout the Class Period. Moreover, Defendants misleadingly touted Akorn’s lucrative drug

pipeline, while failing to disclose that the Company’s pervasive and egregious data integrity

failures, which included the submission of fraudulent data to the FDA, posed a serious risk to the

Company’s ability to seek approval for, and ultimately market, those pipeline drugs.

         G.    Akorn Continues to Hide its Widespread Data Integrity Violations
               While Seeking a Sale

         94.   At approximately the same time Defendants were calming fears about the Decatur

483, Akorn’s senior management and Board increased their efforts to sell the Company.


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        95.     On August 23, 2016 Akorn met with Alexander Dettmer, Head of Corporate

Business Development / M&A at Fresenius. Mr. Dettmer informed Akorn’s financial advisor, J.P.

Morgan, that Fresenius believed that the Company could potentially be a good strategic fit for

Fresenius. This was the first of several meetings between Fresenius and Akorn throughout the fall

of 2016. Akorn also met with and entered into confidentiality agreements with several potential

financial sponsor buyers during the fall of 2016.

        96.     On November 23, 2016, Fresenius submitted a non-binding indication of interest

proposing to acquire Akorn for a price of $30.00 per Akorn common share and a contingent value

right (“CVR”) to receive up to $5.00 per Company common share in cash based on sales of the

Company’s ephedrine sulfate product over the following three years. The next week, a financial

sponsor (“Financial Sponsor C”) submitted a non-binding indication of interest proposing to

acquire Akorn for a price between $30.00 and $33.00 per Company common share.

        97.     While shopping the Company, Akorn tried to hide its data integrity problems with

the hope that they would not be identified during due diligence. Despite the critical nature of its

data integrity problems, many of which were likely to directly impact the safety and effectiveness

of its products, Akorn instructed employees to not perform data integrity related remediation while

the Merger was pending. For example, in a December 2016 email, an Akorn IT employee wrote

to her manager: “So I hear loud and clear that we are not to work on any Data Integrity

improvements at today’s meeting . . . .”      As part of this effort, Akorn employees were also

instructed to elevate follow-up requests regarding data integrity related requests to more senior IT

personnel so that they could be rejected. One IT employee contacted senior IT staff, writing “Per

your instructions this morning to escalate any pressure from the business regarding IT working on

data integrity remediation tasks . . . .”



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       98.     At a December 2, 2016 Board meeting, shortly after a discussion concerning “the

FDA’s re-inspection of the Company’s Decatur manufacturing facility,” the Board authorized the

Company’s management to “formally engage J.P. Morgan as the Company’s financial advisor . . .

in connection with a potential transaction.” The Company also instructed J.P. Morgan to reach out

to additional potential bidders.

       H.      Akorn’s Experts Identify Critical Failures at Akorn’s Decatur Site

       99.     Despite Executive Defendant Rai’s frequent claims that Akorn was “ready” for the

reinspection at Decatur, Akorn’s consultant Cerulean found the exact opposite. In a report dated

December 5, 2016, which was provided to Akorn’s quality team including Silverberg, Cerulean

detailed the numerous ongoing data integrity problems at Decatur. Cerulean is a well-respected

industry consultant, which Akorn had retained following a specific recommendation from Health

Canada (Canada’s FDA-equivalent regulator).

       100.    Cerulean’s December 5, 2016 Compliance Gap Analysis Summary and

Recommendation Report (the “Cerulean Decatur Report”), reported seven critical findings at

Akorn’s Decatur Site. Cerulean defined “critical findings” as those where nonconformity is

“reasonably likely to directly impact the regulatory compliance status of the organization and/or

product safety, efficacy or quality.” The Cerulean report analyzed Akorn’s practices under “FDA

21 CFR 211 Current Good Manufacturing Practices for Finished Pharmaceuticals (cGMP), FDA

21 CFR 314 Applications for FDA Approval to Market a New Drug, and both the ICH Q9 Quality

Risk Management and the ICH Q10 Pharmaceutical Quality System harmonized guidelines that

FDA enforces as regulations.”

       101.    The first critical finding identified by the Cerulean Decatur Report was Akorn’s

“failure to exercise sufficient controls to prevent data loss.” Among other things, the Cerulean

Decatur Report found that over 200,000 files of raw data used to verify sterile container closure
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acceptance for products produced since May 2015 have been destroyed, in direct violation of

multiple regulatory recordkeeping regulations. The assessment also discovered that original batch

record source data for TheraTears sterilization was recorded onto thermal paper that was no longer

legible and that PDFs of Certificates of Analysis and Certificates of Conformance for certain

released components were missing from a “secured” network file folder.

       102.    Cerulean’s second critical finding was that Akorn had “insufficient data integrity

controls (both procedural and technical) to prevent unauthorized changes to electronic data.”

Related to this finding, Cerulean found that several of Akorn’s computer systems did not have

required audit trail capabilities, certain computer systems had audit trails turned off, data was not

properly backed up, and that the Company did not have required written policies concerning data

integrity compliance and the retention of raw laboratory data. Akorn’s computer systems also had

insufficient controls, allowing anyone with Akorn network access to add, delete, or change data

used in the production and testing of drug products.

       103.    In describing the scope of this problem, Cerulean principal John Avellanet testified

in his deposition in the Delaware Litigation that “Everyone at Akorn, and when I mean – I don’t

mean everyone in Decatur, I mean everyone. If you were an Akorn employee or contractor with a

network access login, summer intern, CEO, et cetera, you could add, delete, do anything you

wanted into any of the data within that folder with no ability for anybody to know what you have

done.” When asked how many times he had seen such a deficiency before, Avellanet answered,

“For everyone in the entire corporation to make these changes and willy-nilly with no traceability

or accountability, never.” Even Akorn’s own regulatory compliance expert, Zena Kaufman,

admitted in her testimony in the Delaware Litigation that this issue was “incredibly serious.”




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Notably, this same issue existed across Akorn’s sites, including at Vernon Hills and its headquarters

in Lake Forest.

       104.    The third critical finding identified by Cerulean was that Akorn had “insufficient

regulated record archival controls and retention for records involved in drug product manufacture,

testing and release, and quality records.” The facts supporting this finding included that Akorn did

not adequately retain backup tapes (in direct conflict with federal regulations), had insufficient

data backup procedures and systems, did not have periodic or routine verifications of backups and

had a “woefully out-of-date” collection of archived paper records.

       105.    Cerulean’s fourth critical finding was that Akorn had a “failure to have sufficient

controls over computerized equipment used in regulated processes and used to create, manipulate,

edit, store, et al regulated data for drug product safety and quality testing and release.” Among

other things, Cerulean found that users had “uncontrolled access” to modify or delete data and

could adjust the date and time on computerized systems. Moreover, Akorn’s computer systems

were not properly audited or reviewed to verify user access and the data showed that multiple user

accounts had been deleted on the Akorn network, leaving the Company unable to account for

regulated data. These issues showed that the Akorn Decatur data center “does not meet minimum

industry standards for a simple Tier 1 data center, much less regulatory guidance expectations and

IT industry best practices.” As Avellanet testified in connection with the Delaware Litigation,

these problems were unprecedented and “call[] into question all of the test data, all of the

production data, all of the raw material specifications” at Akorn.

       106.    Cerulean’s fifth critical finding was that Akorn had “inadequate validation of

computerized systems to ensure the ongoing suitability of systems for Akorn processes, data, and

personnel.” In support of this finding, Cerulean noted that Akorn personnel did not understand the



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difference between basic data integrity terminology, validations did not test or verify basic data

integrity controls and that the Company did not track, inventory or validate various computerized

systems.

       107.    The sixth critical finding reported by Cerulean was that Akorn had “inadequate

control over approved specifications for drug product and raw materials, and failure to ensure that

product testing data is derived from compliance with established specifications and standards.”

Specifically, Cerulean found that all Akorn personnel with network access could modify, add, or

delete data in shared network folders, calling into “serious question the identity, strength, quality,

safety, purity, and sterility of Akorn’s drug products.” This practice was in direct conflict with

multiple federal regulations.

       108.    Cerulean’s seventh critical finding was that Akorn had “inadequate corrective

action and preventative action and out-of-specification investigations, explanations, and corrective

actions.” In support of this finding, Cerulean found that all internal audit findings and external

audit or inspectional findings were not properly tracked and that Akorn’s investigation and

corrective action programs fail to prevent re-occurrence of failures. Even more troubling, Cerulean

found that 58% of out-of-specification investigations referenced “personnel” as the root cause of

the problem, significantly higher than the industry average of 15-18% of problems having

personnel as the root cause.

       109.    In addition to the critical findings, the Cerulean Decatur Report also identified

seven major findings and several minor findings. Major findings are those where nonconformity

has the likely potential to indirectly impact risks to product safety, efficacy, quality and/or the

regulatory compliance of the organization. Minor findings are those that pose an increased risk

because they are indicators that an organization did not take adequate corrective actions, and thus



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may not take its responsibilities as seriously as appropriate. Akorn’s major deficiencies included,

“inadequate training processes and training effectiveness” and an “inadequate and insufficient

internal audit program.” The Cerulean Decatur Report specifically pointed out that the latter was

a “repeat violation,” which “pose[s] increased risk because they are indicators that an

organization did not take adequate corrective actions and thus may not take its responsibilities

as seriously as appropriate.”

         110.   In sum, the Cerulean Decatur Report concluded that “the data integrity controls at

. . . Akorn’s Decatur, Illinois site . . . are insufficient to support compliance with current data

integrity expectations and US Food and Drug Administration (FDA) regulatory requirements.

As a result, Akorn currently shoulders significant regulatory and negative public perception

risk.”

         111.   Indeed, Avellanet testified in the Delaware Litigation that Akorn was among the top

“two [or] three” worst drug companies in terms of data integrity out of the more than 120 he had

audited over the course of his career, and that he would not expect to see data integrity violations

as egregious as those he observed at Akorn “at a company that made Styrofoam cups,” let alone

sterile injectable drugs. In assessing the gravity of Cerulean’s conclusions, it is critical to note

that, as Akorn’s expert witness Kaufman testified in the Delaware Litigation, Cerulean is brought

in only when companies have problems to begin with. Thus, to rank among the worst of the

companies Cerulean had ever audited speaks volumes about the depth and seriousness of the cGMP

violations at issue.

         112.   On December 7, 2016, just two days after Akorn received the Cerulean Decatur

Report, the Akorn Board of Directors Quality Oversight Committee held a meeting where they

discussed, among other things, ongoing audits and the FDA’s re-inspection of Akorn’s Decatur



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facility – the same Akorn facility where Cerulean had just identified and reported over a dozen

critical and major deficiencies.

       113.    At the meeting, which was attended by Defendant Rai, certain Board Defendants

expressed concern about the ongoing data integrity issues at the Company. For example, Board

Defendant Ron Johnson asked “why risk assessments are not completed in a timely manner for

suppliers.” Mr. Johnson also “expressed his concern around the repetitiveness of issues between

sites and across sites identified during audits & external inspections.”

       114.    The Board also discussed Akorn’s failure to timely remediate previously identified

problems.     For instance, Board Defendant Brian Tambi “stated that it appears that the

implementation of corrective actions is lacking or not timely.” Similarly, the Quality Oversight

Committee found that internal audit “metrics [do] not clearly show[] if the corrective actions were

actually implemented in a timely manner or not.”

       115.    Incredibly, despite Cerulean’s detailed account of Decatur’s systemic data integrity

failures, and despite the Board’s significant concerns about Akorn’s lack of cGMP compliance,

just days later, Defendants continued to mislead investors. On December 12, 2016, Akorn filed a

Form 8-K announcing that “the U.S. Food and Drug Administration (FDA) conducted a re-

inspection of its Decatur, Illinois manufacturing facility from December 5, 2016 to December 9,

2016, with no Form 483 observations,” despite knowing that, notwithstanding the FDA inspector’s

failure to issue a Form 483, the Decatur facility was actually rife with cGMP violations.

       I.      Akorn and its Board Finalize a Sale Amid its Ongoing Data Integrity
               Crisis

       116.    Shortly after the Quality Oversight Committee’s discussion of the alarming data

integrity problems, the full Board of Directors met on January 5, 2017. At this meeting, the Board

– who along with Akorn’s executive officers stood to receive nearly $1 billion from Fresenius’


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latest $30.00 per share offer – determined that it would be in the “best interest of the Company and

its shareholders” to continue pursuing a possible transaction with Fresenius.

       117.    A few days later, on January 12, 2017, Akorn’s senior executives, including

Executive Defendant Rai, Silverberg, Executive Defendant Portwood, Akorn COO Bruce

Kutinsky and Akorn General Counsel Joe Bonaccorsi, received a summary of the results of the

Company’s 2016 annual employee survey. This summary included quotes from an Akorn

employee based at Akorn’s Lake Forest headquarters, who wrote that Silverberg “provided

misleading information to regulatory bodies including the US FDA.” The employee also wrote

that Silverberg “counselled his staff to not speak to Global Quality Compliance staff and . . . not

[to] share information with GQC.” The employee survey summary provided to Akorn’s senior

management contained these exact quotes regarding Silverberg.

       118.    After proceeding with additional due diligence, on February 3, 2017, Fresenius

submitted a revised non-binding indication of interest proposing to acquire the Company for a

price of $32.00 per Akorn common share and a CVR to receive $4.00 per Company common share

in cash in early 2019 if the Company’s sales in calendar year 2018 exceeded a specified threshold.

Following further due diligence and numerous meetings with management, on March 23, 2017

Fresenius increased its offer to $33.00 per share.

       119.    On April 7, 2017, Bloomberg reported that Fresenius was “in talks” to buy Akorn.

Later that day, Akorn published a press release confirming that Akorn was currently in discussions

with Fresenius concerning a potential acquisition of Akorn.

       120.    On April 24, 2017, Akorn’s Board accepted Fresenius’ further-increased offer to

acquire all outstanding Akorn shares for $34.00 per share and executed an Agreement and Plan of

Merger (the “Merger Agreement”). The Company and Fresenius issued a joint press release



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announcing the transaction after the close of trading on April 24, 2017. The Merger Agreement

was publicly disclosed as an exhibit to a Form 8-K filed by Akorn.

       121.    As described in further detail below, in the Merger Agreement Defendants falsely

represented that Akorn was, and had been, materially compliant with FDA regulations, including

cGMP, and FDA data integrity requirements; and that Akorn had conducted all trials and studies

in accordance with standard medical and scientific practices and Good Clinical Practices

requirements. Defendants further falsely represented in the Merger Agreement that Akorn’s FDA

filings contained no material misstatements or omissions.

       122.    Fresenius stressed that Akorn’s product pipeline was critical to its rationale for

acquiring Akorn. In its press release announcing the transaction, CEO of Fresenius Kabi USA

John Ducker touted Akorn’s new products, stating the Company’s “pipeline is [] impressive, with

approximately 85 ANDAs filed and pending with the FDA and dozens more in development.” The

release also stated that “Akorn’s current product pipeline of pending ANDAs [] has a total

addressable IMS market value of US $9.3 billion.” Similarly, in its investor conference call

announcing the transaction, Fresenius SE & Co. KGaA CEO Stephen Sturm (“Sturm”) explained

that Akorn is a “Great company with a broad product portfolio and pipeline” and later stated

Akorn’s “substantial pipeline will strengthen our existing IV generics franchise.”

       123.    Fresenius also reiterated the importance of Akorn’s product pipeline in the months

following the announcement of the Merger. For instance, on its May 3, 2017 first quarter earnings

call, Fresenius CEO Sturm stressed the “pipeline at Akorn . . . is going to add 85 products to us.”

This line of statements continued through at least Fresenius’ January 8, 2018 presentation at the

J.P. Morgan Healthcare Conference, where Fresenius’ investor presentation highlighted that




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Akorn’s “complementary product portfolio and pipeline diversifies Fresenius Kabi’s IV generics

offering.”

       124.    Analysts also noted that a primary benefit of the transaction for Fresenius was

Akorn’s new product pipeline. For example, one analyst noted the transaction “gives Fresenius

access to a solid pipeline as highlighted by the 85 pipeline candidates (versus 55 for Fresenius).”

       J.      After Announcing the Transaction, Akorn Receives Another
               Damning Report Detailing the Company’s Pervasive Data Integrity
               Violations

       125.    Cerulean audited Akorn’s Somerset site in early 2017. Cerulean’s report, issued on

May 31, 2017, found three critical deficiencies and three major deficiencies. Like at Akorn’s

Decatur site, Cerulean concluded that Akorn’s Somerset site failed to have sufficient controls over

its computer systems, which Avellanet testified “literally calls into question every released

product they’ve done for however many years it’s been this way.” Specifically, Cerulean cited as

a “critical” cGMP violation the “[f]ailure of the Akorn IT department, as a core component of a

21st century quality control management structure, to ensure reliability of the controls around data

used to make, test, release, and surveil sterile drug product.” Cerulean noted that this deficiency

“raises serious questions about the reliability of any data integrity controls and thus the

trustworthiness of any electronic information used through Akorn to make safety, efficacy and

quality decisions.”

       126.    Cerulean also found that a critical deficiency at Somerset was the “[f]ailure of

senior management with executive responsibility to ensure an effective quality system is

implemented and maintained throughout Akorn.”

       127.    Cerulean’s findings were so troubling that Cerulean warned Akorn management

that the Company’s deficiencies could expose management to potential criminal liability under the

Park doctrine (see United States v. Park, 421 U.S. 658 (1975)).
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       K.      Akorn Issues a False and Misleading Proxy Statement

       128.    On May 22, 2017 Akorn filed its Proxy Statement on Schedule 14A in connection

with the proposed Fresenius acquisition. The Proxy Statement was signed by Defendant Rai and

specifically stated that it was issued “By Order of the Board of Directors” of Akorn.

       129.    Akorn’s Proxy Statement attached the Merger Agreement, and specifically

instructed shareholders to “carefully read the accompanying proxy statement and the copy of the

merger agreement attached as Annex A thereto.” The Proxy Statement informed investors that

they were required to approve the Merger Agreement in order for the Merger to occur. As

discussed above, and detailed further in Section V below, the Merger Agreement included

Defendants’ false representations that Akorn was, and had been, materially compliant with FDA

regulations, including cGMP, and particularly data integrity requirements; that Akorn had

conducted all trials and studies in accordance with standard medical and scientific practices and

Good Clinical Practices requirements; and that Akorn’s FDA filings contained no material

misstatements or omissions.

       130.    At the time Defendants published these statements as part of the Proxy Statement

(or within days thereof) – and well before the shareholder vote – they had already received two

reports from Cerulean, and numerous internal GQC reports, demonstrating that Akorn’s facilities

were actually rife with serious cGMP violations and that the Company’s data integrity controls

were “insufficient to support compliance with current data integrity expectations.” Defendants

also knew that Akorn had submitted false and manipulated trial data to the FDA. Indeed, well

before Akorn’s Board “order[ed]” the publication of the Proxy Statement, that same Board had

already expressed “concern around the repetitiveness of the issues between sites and across sites

identified during audits & external inspections.”



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          131.   On July 19, 2017, Akorn held a special meeting of the Company’s shareholders.

Pursuant to the Proxy Statement, the Company’s shareholders approved the Merger Agreement,

with 83.9% of the Company common shares outstanding and entitled to vote at the meeting voting

to approve the agreement.

          L.     Akorn Conceals the Truth to Try to Close the Merger

          132.   While receiving additional troubling internal and external audit findings throughout

2017, Akorn and its senior management made a deliberate effort to hide its problems from

Fresenius and Akorn investors in an effort to close the pending Merger – a transaction that would

enrich them.

          133.   Incredibly, despite the severity of the problems and warnings of potential criminal

liability in the deeply troubling 2017 Cerulean Somerset report distributed to Akorn’s senior

management, Wasserkrug testified at the Delaware Litigation that “no actions were taken in

response” to the report until March 2018. Similarly, a GQC report of a February 19-23, 2018 audit

of Decatur, which was distributed to Akorn senior management including Defendant Rai, found

that Akorn “failed to appropriately investigate and remediate in a timely manner previously

identified Data Integrity non-compliances” and had only “completed 32% of the corrective actions

thus far.” Remarkably, in June 2017 Akorn suspended the meetings of its Board of Directors

Quality Oversight Committee, the body charged with overseeing compliance and remediation

issues.

          134.   Akorn also did not work to remediate the systemic data integrity problems at its

other sites.     For example, confidential non-public documents quoted in Fresenius’ Verified

Counterclaim state that in August 2017 a Quality Compliance manager at Akorn informed a Data

Integrity employee that senior management had decided that “data integrity changes are not

actionable in 2017.” The manager stated that the “[a]ddition of any responsibilities cannot be
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absorbed by the currently taxed IT department and hiring of additional resources to support new

responsibilities is not approved.”

       135.    Akorn was clearly hoping that, rather than fixing any of these serious issues in good

faith, the issue would be concealed until after the acquisition closed. Confidential trial exhibits

cited by Fresenius’ post-trial brief in the Delaware Litigation show that in August 2017, a senior

leader in Akorn’s IT Department wrote that the IT Department was not remediating data integrity

issues because “Fresenius Kabi Quality [and] IT Leaders will drive any actions in this area” after

the Merger. Also in August 2017, Somerset’s head of quality, Misbah Sherwani, told Silverberg

that she “fully underst[ood] that we are on the cusp of the FK” merger, but that Somerset was “in

a state of jeopardy as it relates to data integrity” and yet IT had determined that a serious system

access problem did “not warrant” a review. A few months later, in December 2017, Akorn

employees wrote that “data integrity is not a 2017 approved project” and that “DI remediation

activities are not something that we are resourced to address at the moment.”

       136.    Not only did Akorn not take any action to fix its problems, the Company took

affirmative steps to hide its mushrooming problems until the Merger closed. For example,

following the announcement of the Merger, Akorn’s internal audit function GQC replaced its

standard internal audits with “verification audits.” As Akorn admitted in its post-trial brief in the

Delaware Litigation, verification audits were meant to only “verify that the corrective actions that

the site had committed to have actually been completed and are effective.” In other words, Akorn

stopped attempting to identify new data integrity problems while the Merger was pending.

       137.    While GQC’s “verification” audits were not designed to identify new problems, the

audits did confirm that Akorn had failed to remediate its pressing data integrity crisis. For

example, in an April 2017 verification audit at Akorn’s Somerset site GQC found “ongoing



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unmitigated compliance risks associated with Data Integrity.” GQC’s report also noted that one

of its findings regarding audit trials directly violated a commitment to remediate the issue made to

the FDA following a 2016 inspection.

       138.    As discussed above, in an audit report dated September 11, 2017, GQC confirmed

the data integrity problems persisted at Akorn’s Vernon Hills facility. GQC’s report stated that all

remediation “items have been halted and remain incomplete” and that these “ongoing delay[s] in

resolving the data integrity items presents undue risk to the site’s ongoing operations.”

Similarly, GQC found in December 2017 that Akorn had not addressed the problems it had

previously identified in April 2016 at Akorn’s Lake Forest site.

       139.    Akorn employees also tried to cover up the Company’s submission of false data to

the FDA. As discussed above, in August 2017, Silverberg knowingly authorized the submission

of false and fabricated data in response to a CRL issued by the FDA seeking additional information

in connection with the azithromycin ANDA. Silverberg actively attempted to conceal his fraud,

by, among other things, instructing Somerset head of quality Sherwani not to open a formal

investigation. Ultimately, however, Fresenius’ receipt of whistleblower letters describing serious

data integrity violations, described in greater detail below, finally forced Akorn to open an

investigation into the Company’s submission of fraudulent data, conducted by its litigation

counsel, Cravath.

       140.    In December 2017, while Cravath was conducting interviews at Somerset pursuant

to this investigation, Silverberg approached Sherwani about covering up his involvement in the

submission of fraudulent azithromycin data, including the destruction of documentary evidence of

that involvement. Specifically, Sherwani testified in connection with the Delaware Litigation that

Silverberg told her “clearly this investigation is focused on the three of us,” i.e. Silverberg,



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Sherwani, and Michael Stehn, general manager of Akorn’s Somerset site. Silverberg discussed

with Sherwani “how we can document this issue [of submitting fraudulent data to the FDA]” that

they will have to “wordsmith” it, and that “we would never discuss it with legal.” Silverberg

further stated that “if anything came of it, he might, you know, take the paper and eat it” – i.e.

destroy evidence – “if he had to.”

        141.    Sherwani reported this incident to Cravath. A December 2017 email between

Cravath lawyers memorializes that report. The email notes that Sherwani reported Silverberg was

“telling her to do things with respect to opening a trackwise investigation that she is seriously

concerned about (including inaccurate justifications for why an investigation was not opened

earlier and telling her he will ‘eat’ the drafts of the language about that).”

        142.    In addition to threatening to destroy evidence, Silverberg also avoided documenting

crucial evidence and contributed to Akorn’s culture of noncompliance.            For example, in a

September 5, 2017 email, sent just days after he told Sherwani he would destroy evidence

concerning his submission of fraudulent data to the FDA, Silverberg instructed Hans-Herwig

Bauer, the quality director of Akorn’s Swiss facility, who informed Silverberg about potential data

integrity issues relating to another drug, to “not put FDA sensitive subjects into emails.”

Additionally, Tom Yajcaji, a former Quality Director at Somerset told Cravath during its

investigation that “there was a lot of pressure from Mark S. [Silverberg] to just get things done and

get products out [the] door.”

        143.    Despite being involved in a host of potentially criminal conduct, as of the date of

the trial in the Delaware Litigation, Silverberg remains employed by Akorn as a “quality

consultant” at an annual salary of $250,000.




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       144.    Akorn’s remediation efforts were so non-existent that its Data Integrity Quality

Manager at Decatur, Patty Franke, stated in a November 30, 2017 email to Cerulean CEO Avellanet

that she has been “making 0 progress on our DI remediation efforts. I have found a ton more

issues and we have to put a handful of controls in place to improve data going forward, but they

are superficial at best, in my honest opinion.” Franke attributed these failures to “the culture and

the message from management.” Franke further explained in December 2017, according to a

confidential trial exhibit quoted in Fresenius’ post-trial brief, that “DI remediation activities are

not something that we are resourced to address at the moment.”

       M.      The Truth About Akorn’s Profound Failure to Comply with cGMP
               Begins to Be Revealed as Fresenius Announces That It is Investigating
               Akorn’s “Alleged Breaches of FDA Data Integrity Requirements”

       145.    In October and November 2017, Fresenius received two anonymous whistleblower

letters raising questions about Akorn’s data integrity compliance. The first letter in October 2017,

which Fresenius disregarded because of its lack of detail, alleged that Akorn’s research and

development activities were significantly “[f]lawed and . . . mostly corrupted or incomplete.”

       146.    The second anonymous letter, received by Fresenius in early November 2017,

provided more detail. This second letter alleged that Akorn’s senior executives, including Rai,

pressured Akorn employees to “manipulate or modify” data “using pressure tactics and employee

threats.” These actions led to “multiple data manipulations” at Akorn’s Decatur, Somerset and

Vernon Hills sites. On November 16, 2017, Fresenius sent Akorn a letter regarding the anonymous

allegations and informed Akorn that it intended to investigate the complaints.

       147.    In mid-November Fresenius started its investigation of the anonymous allegations.

Fresenius retained Lachman Consultants (“Lachman”), Ernst & Young and Sidley Austin LLP

(“Sidley”) to lead its investigation. At the same time, Akorn retained Cravath and consulting firm

NSF Health Sciences (“NSF”) to investigate the allegations.
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        148.    On January 9, 2018, Fresenius received an additional whistleblower letter alleging

that Akorn had “instructed [its] team not to cooperate with any [Fresenius] officers or provide any

information to [Fresenius].”

        149.    Fresenius publicly disclosed its investigation on February 26, 2018, when, after the

close of the market, Fresenius announced:

                Fresenius is conducting an independent investigation, using external
                experts, into alleged breaches of FDA data integrity requirements
                relating to the product development at Akorn, Inc.

                The Management and Supervisory Boards of Fresenius will assess
                the findings of that investigation. The consummation of the
                transaction may be affected if the closing conditions under the
                merger agreement are not met.

        150.    On the same day, Akorn released its own statement regarding the investigation,

disclosing the investigation but denying the existence and seriousness of its widespread data

integrity issues:

                Akorn and Fresenius Kabi AG, with the assistance of outside
                consultants, are investigating alleged breaches of FDA data
                integrity requirements relating to product development at the
                Company. To date, the Company’s investigation has not found
                any facts that would result in a material impact on Akorn’s
                operations and the Company does not believe this investigation
                should affect the closing of the transaction with Fresenius.

        151.    The February 26, 2018 announcements caused Akorn’s stock price to plummet

38.4%, from $30.28 per share at close on February 26, 2018 to $18.65 per share at close on

February 27, 2018. The next day, Akorn’s common stock price dropped an additional 9.1% to

$16.94 per share.

        N.      Akorn Misleads the FDA About its Data Integrity Problems and
                Continues to Fail to Remediate Them

        152.    On March 16, 2018 Akorn met with the FDA about the azithromycin issue. Even

though Akorn and its counsel at Cravath admitted to Fresenius’ counsel that Silverberg’s
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explanations regarding azithromycin were “not satisfactory” and did not “hang together,” Akorn

and Cravath subsequently misled the FDA by stating that when Silverberg authorized Akorn’s CRL

response he did not know that it contained fabricated data. Specifically, under the heading

“Investigative Findings,” Akorn’s presentation to the FDA stated: “Silverberg authorized

submission of AET data [in the CRL response] without knowing stability table containing

particulate matter data would be submitted because stability table not attached to CRL response

authorized for submission.” As Cravath partner David Stuart testified in the Delaware Litigation,

Cravath had previously told Fresenius’ lawyers that this explanation was not credible and that they

would not “use [this] explanation in an attempt to defend the company before the FDA.” Yet, that

is precisely what Cravath did.

       153.      Indeed, a Cravath lawyer’s internal notes of a February 1, 2018 call make clear that

Cravath lawyers acknowledged that the record did not support the explanation they presented to

the FDA and that, in fact, “there’s a high likelihood . . . given the document trail that [the FDA

will] conclude [Silverberg] did act with intent.”         However, Cravath failed to share this

incriminating document trail with the FDA, even as it presented innocent explanations for

Silverberg’s heinous conduct that it knew were not credible.

       154.      Akorn’s presentation to the FDA made additional misrepresentations about

Silverberg’s role at Akorn. For instance, Akorn also claimed that it had “removed” Silverberg.

However, as noted, Akorn continues to retain Silverberg as a “quality consultant” at a $250,000

annual salary.

       155.      Akorn’s March 16, 2018 presentation to the FDA also misled the FDA about

Akorn’s data integrity compliance program. For instance, Akorn told the FDA between 2016 and

2017 it added “39 dedicated data reviewers” who were “dedicated to performing audit trail and



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data review.” In fact, as both GQC and Cerulean audits had determined, numerous Akorn computer

systems did not have required audit trail capabilities, while others had their audit trail capabilities

inactive during this period.

       156.     Akorn also told the FDA at the March 16, 2018 meeting that it had uncovered “no

evidence of trial runs” – i.e. an instance of “testing into compliance” whereby a drug is tested in

an unreported “practice” trial to ensure it passes before an official recorded test is performed – at

its facilities. In truth, Akorn’s third-party auditor, NSF, issued a report flagging “thousands and

thousands” of trial runs as occurring at the Company’s facilities prior to the FDA meeting.

       157.     Even Akorn’s own expert witness Zena Kaufman admitted under oath in the

Delaware Litigation that Akorn’s March 16, 2018 presentation to the FDA was “not fully

transparent.”

       O.       Akorn’s Serious Data Integrity Violations Are Further Revealed as
                Fresenius Publicly Accuses Akorn of Such Violations and Terminates
                the Merger Agreement as a Result

       158.     On Sunday, April 22, 2018, Fresenius issued a press release announcing that it was

terminating the Merger Agreement. In its press release, Fresenius stated that its “decision is based

on, among other factors, material breaches of FDA data integrity requirements relating to Akorn’s

operations found during Fresenius’ independent investigation.”              Accordingly, Fresenius’

announcement revealed that Fresenius’s investigation had uncovered strong evidence that Akorn

was materially noncompliant with FDA data integrity requirements, and, indeed, that these

violations were so severe that Fresenius believed that termination of the Merger Agreement was

warranted.

       159.     On April 23, 2018, the next trading day, Akorn’s share price dropped further on the

news, falling 33.8% from $19.70 per share at close on April 20, 2018 to $13.05 per share at close

on April 23, 2018.
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       P.      The Delaware Litigation

       160.    On April 23, 2018, Akorn filed a Verified Complaint against Fresenius in the

Delaware Court of Chancery. Akorn alleged that Fresenius breached the Merger Agreement and

sought specific performance on the Merger.

       161.    On May 1, 2018, Fresenius filed a Verified Counterclaim against Akorn. Fresenius

claimed that it had four grounds to terminate the Merger Agreement, as Akorn: i) materially

breached its covenant to operate its business in the ordinary course; ii) breached its representations

and warranties that, among other things, it was in compliance with laws, including FDA

regulations, adhered to cGMP standards, and submitted truthful and accurate information the FDA;

iii) materially breached its covenant to provide Fresenius with reasonable access to information;

and iv) Akorn’s post-Merger Agreement financial collapse amounted to a Material Adverse Event.

Among other things, Fresenius’ Verified Counterclaim revealed that its investigation uncovered

“blatant fraud at the very top level of Akorn’s executive team, stunning evidence of blatant and

pervasive data integrity violations, outrageous attempts by and on behalf of Akorn to cover up

those violations and misrepresentations made both to Fresenius and the FDA.” Indeed, Fresenius’

investigation revealed “Akorn ha[d] repeatedly failed to comply with even the most basic data

integrity requirements.”

       162.    On May 14, 2018, Akorn filed a redacted answer to Fresenius’s counterclaim,

denying substantially all of Fresenius’s factual allegations to the effect that Akorn did not adhere

to cGMP standards and that Akorn had pervasive data integrity violations, and that these issues

impacted the FDA’s ability and willingness to trust Akorn’s submissions going forward. For

example, Akorn denied in full the following allegation: “Fresenius has also discovered egregious,

longstanding and widespread violations of FDA data integrity requirements, showing that the

azithromycin fraud was only the tip of the iceberg. Akorn has repeatedly failed to comply with
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even the most basic data integrity requirements, as documented in a litany of highly critical audit

reports—reports which Akorn attempted to suppress until after Fresenius had begun its

investigation. Because of these violations, neither Akorn nor the FDA can trust the accuracy or

integrity of Akorn’s data.” [Answer at ¶ 39]

       163.    The Delaware Litigation was conducted on an expedited basis, sealed pre-trial

briefs and exhibits were submitted, and a trial took place in the Court of Chancery on July 9, 2018

through July 13, 2018. The parties submitted sealed post-trial briefs in the Delaware Litigation

and post-trial argument was held on August 23, 2018.

       Q.      Additional Data Integrity Problems Are Identified

       164.    While the Delaware Litigation was contemplated, and while it was pending in the

Court of Chancery, investigations conducted by Fresenius and Akorn through their respective

consultants and law firms revealed additional details regarding the expansive data integrity crisis

at Akorn.

       165.    Fresenius’ consultant, Lachman, performed five assessments at three Akorn sites

from December 2017 through March 2018. According to the expert report of Lachman Director

Ron George submitted in connection with the Delaware Litigation, Lachman found that Akorn had

“major, systemic data integrity gaps” at all three sites. Mr. George, who has more than 40 years

of experience in the pharmaceutical industry, concluded that Akorn’s “systemic compliance gaps

. . . represent one of the poorest states of compliance that I have encountered.”

       166.    Lachman Director George’s report confirmed many of the issues previously

identified by Cerulean and Akorn’s internal audits. For example, Lachman found that “data were

not documented contemporaneously” and that Akorn’s computer systems and lab software were

“not secure from unauthorized change.” Moreover, Lachman found discrepancies between the

data used to support ANDAs and the underlying lab notebooks, that “electronic records were not
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traceable to a corresponding notebook entry”, and evidence of “backdating [] records.” George

found that Akorn’s “cGMP compliance deficiencies . . . calls into serious question the reliability

of [Akorn’s] test data . . . the accuracy of Akorn’s regulatory submissions, and thus the safety and

efficacy of Akorn’s products.”

       167.    Akorn’s own consultant, NSF, conducted audits at all Akorn sites. According to

testimony in the Delaware Litigation by Akorn’s expert Zena Kauffman, at the time of the trial

NSF had identified 34 “Major” findings. NSF’s audit report of Akorn’s Vernon Hills site, dated

April 13, 2018, defines “Major” findings as those that reflect “a systemic failure of a regulatory

requirement, correlate[] to product defects, and/or represent[] uncorrected repeat findings cited by

the FDA in previous inspections.” These are deficiencies that would “appear on a Form FDA 483

and may provide the basis for further enforcement action.”

       168.    NSF’s findings also corroborate the findings by Lachman, Cerulean and

GQC. Notably, NSF’s review of Akorn’s Vernon Hills facility, documented in its report dated

April 13, 2018, found that “[i]n a large number of instances in every notebook reviewed, the date

of the technician’s work in the notebooks is a week or more later than the date that the HPLC

sequences were run.” NSF also found that “user access levels are not appropriate to protect data

from deletion or further manipulation” at Akorn’s Vernon Hills site.

       169.    Fresenius’ post-trial brief, quoting confidential non-public trial exhibits, describes

NSF’s findings at Akorn’s Cranbury and Amityville sites. At Cranbury, NSF has found that

laboratory notebooks were “lacking in traceability, legibility, [and] authenticity” while at

Amityville NSF found that Akorn analysts were able to “delete or modify” data on “[a]ll stand-

alone instruments,” and that many instruments did not have audit trails.

       170.    NSF also performed audits of all ANDAs filed from Akorn’s Somerset facility since



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2006. According to Wasserkrug’s testimony in the Delaware Litigation, NSF had found that three

of the nine ANDAs it had reviewed contained manipulated or fraudulent data. In Akorn’s ANDA

for olopatadine, NSF has found (and Akorn has admitted) that an employee at its Cranbury facility

generated positive stability testing results through inappropriate “testing into compliance.” In

Akorn’s ANDA for cyclopentolate, NSF found that an employee at its Vernon Hills facility

engaged in the “deliberate manipulation” of data “to make failing results meet specification” and

this data was then submitted to the FDA.

       171.    NSF also discovered widespread evidence of inappropriate trial injections. As

discussed above, a “trial injection” is a form of “testing into compliance” whereby a drug is tested

in an unreported “practice” trial to ensure it passes. As such, “trial injections” represent a clear

case of data manipulation and are explicitly proscribed by the FDA. At Akorn’s Vernon Hills site,

NSF’s audit discovered approximately 5,000 potentially problematic trial injections, which

involved up to 20 analysts and at least 16 different products. At Somerset, improper trial injections

were found involving between 20 and 30 analysts. Akorn has since retained an additional

consulting firm, PQE, to perform a detail review of the Company’s use of trial injections. Indeed,

talking points prepared by Akorn’s counsel reflect that counsel informed the Board Defendants on

April 20, 2018, that Akorn, despite the FDA’s specific warning to “stop performing . . . trial

samples,” had continued to conduct “many that are the type of problematic, unreported trial

injections FDA has warned of.”

       172.    NSF’s work and evaluation continued through the trial in the Chancery Court. As

noted in an April 19, 2018 Cravath email quoted in Fresenius’ post-trial brief, “the longer NSF is

on site, the more likely it is that employees are going to raise issues.”




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        173.    As predicted, NSF has identified additional critical findings since the Delaware

Trial. As Akorn stated on August 3, 2018, in its mandatory monthly report to the FDA, NSF

recently identified six additional instances where Akorn’s Vernon Hills manager “manipulated”

data. NSF has found that this manipulation, which occurred as recently as July 2017, was

“systemic in nature” and requires a “further compressive assessment of the [manager’s] work and

work produced by the Vernon Hills facility in support of GMP activities” to determine “potential

impact to marketed product, regulatory findings, and submission supporting data.”

        174.    Meanwhile, the FDA continued to uncover even more violations. On May 16, 2018,

the FDA issued a 24-page Form 483 identifying thirteen categories of deficiencies at Akorn’s

Decatur Facility, informally placed the Decatur facility on OAI status and stopped approving new

products from the Decatur site – Akorn’s largest manufacturing site., The FDA has since explicitly

denied at least two pending ANDAs, citing quality issues at Decatur and has formally confirmed

the Decatur Facility’s OAI status in a letter to Akorn dated August 9, 2018. Moreover, on July

23, 2018, the FDA initiated an unexpected inspection at Akorn’s Somerset site. As Akorn

conceded during the Delaware Litigation, the “frequency” of inspections is often a direct indication

of the FDA’s concern with a Company’s operations. The FDA’s placement of Decatur on OAI

status and the increased inspections at Akorn’s other facilities indicates that the FDA has become

concerned with Akorn’s operations. This scrutiny put Akorn’s product pipeline, and the Merger,

at a significant risk.

        175.    Akorn’s internal audit function GQC has also continued reviewing Akorn’s data

integrity compliance. Although these reviews have been limited “verification” audits, Akorn’s

GQC department concluded that Cerulean’s critical findings were valid and legitimate findings.




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GQC also found that the Akorn had only completed 32% of the corrective actions planned

following Cerulean’s December 2016 Decatur Gap Analysis.

        176.    Fresenius also investigated the scope of the remediation efforts required to fix

Akorn’s data integrity problems. According to Fresenius, Akorn must halt the release of certain

products, restructure its R&D department including bringing in new employees, and fix its IT

systems. As a result of those steps, Akorn’s new product pipeline will be harmed for at least three

years. Notably, at the Delaware Trial, Akorn’s new VP of Quality Operations Wasserkrug did not

dispute that it would take three years to remediate the problems and also conceded that Akorn

would need to pull certain products off the market.

        177.    Akorn’s data integrity failures, including its extended failure to investigate and

remediate those failures, severely impact the Company’s business and financial position.

Fresenius’ internal planning documents presented to its Supervisory Board demonstrate what must

be done in order to adequately remediate Akorn’s data integrity issues. First, as Fresenius Kabi

Chairman Mats Henriksson testified in the Delaware Litigation, there must be a temporary halt on

the release of products until independent safety measures can be instituted. Second, as Henriksson

further explained in his testimony, Akorn’s R&D department must be comprehensively

restructured to bring in new employees and “build a culture of [] compliance,” IT systems with

proper controls must be established, and personnel must be retrained. These initial steps can be

expected to take one year. Then, Akorn will need to redevelop its ANDAs with reliable data and

obtain approval for those ANDAs – a process expected to take at least three years. All the while,

Akorn will be unable to market currently approved drugs or obtain approval for drugs currently in

its pipeline. In total, Fresenius estimates that it will cost more than $250 million in direct financial

investment to remediate Akorn’s problems. This financial investment and related product impact



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of Akorn’s data integrity violations is estimated to reduce Akorn’s enterprise value by almost $2

billion.

           178.   Fresenius’ analysis was based on its comprehensive review of Akorn’s operations,

and, in particular, the magnitude of its data integrity issues as assessed by numerous third party

consultants including Cerulean, Lachman, and NSF. Moreover, as Henriksson testified in the

Delaware Litigation, Fresenius’ analysis benefitted from input from its attorneys and consultants,

who conducted a detailed investigation of Akorn’s data integrity compliance.

           179.   After years of neglecting to fix its data integrity problems, in April 2018 Akorn

finally launched a “Data Integrity Remediation Project” (“DIRP”). However, this long overdue

effort has resulted in minimal changes. As senior Akorn executives, including Rai, testified during

the Delaware Trial, as of July 2018 the project had not completed any meaningful steps to

remediate the problems and no timetable is set for essential remediation items.

           180.   DIRP also barely scratches the surface of the work required to “fix” Akorn. As

experts for both parties acknowledged at the Delaware Litigation, many of the data integrity issues

identified by Akorn require the Company to do “retrospective reviews” to demonstrate that its

historical data is reliable and accurate. This enormous process will cripple Akorn’s business

because as Akorn’s consultants have concluded, the data integrity problems call into question

“every” product at the Company. Akorn’s years of hiding its problems have exacerbated the crisis,

as each product the Company has released in the last year (at least) will also have to be reviewed.

           181.   Since the trial in the Delaware Litigation, the FDA has increased its scrutiny of

Akorn’s data integrity practices. According to Akorn documents, in August 2018 the FDA

inspected Akorn’s Decatur site and found that the site is out of compliance:

                  FDA has determined that the inspection classification of this
                  facility is “official action indicated” (“OAI”). Based on this

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               inspection, this facility is considered to be in an unacceptable state
               of compliance with regards to current good manufacturing practice
               (CGMP). This facility may be subject to a CGMP regulatory or
               enforcement action based on this inspection[.]

       182.    On August 22, during the later stages of the FDA’s investigation, Akorn learned

that the database for a high accuracy liquid particle counter at Akorn’s Somerset Facility had been

deleted along with the local backup file and the associated electronic security logs. These databases

contained all of Somerset’s data for the relevant testing, which is designed to ensure that sterile

intravenous products do not contain excessive amounts of undisclosed solids. Akorn’s preliminary

investigation suggested that the files were deleted intentionally using an electronic shredding

utility. On information and belief, and as the Chancery Court inferred may be the case, the

perpetrator was trying to hide information from the FDA, or from personnel who would follow up

on the deficiencies that the FDA identified in its Form 483.

       183.    Indeed, on August 30, 2018, the FDA inspector issued a twenty-two page Form 483

detailing serious regulatory deficiencies it observed during the Somerset inspection. Among the

eleven observations, the inspector found that Akorn failed to exercise “[appropriate controls . . .

over computers or related systems,” that Akorn was distributing batches of adulterated sterile eye

drops that failed four separate stability tests, and that Akorn conducted trial injections as a

“widespread practice.” As a result of Akorn’s widespread use of trial injections, the FDA inspector

concluded that “there is limited assurance in the reliability of data submitted to the Agency and

generated for commercial batches.”

       R.      The Delaware Litigation and FDA Further Reveal
               the Extent of Defendants’ Fraud

            184.       On October 1, 2018, the Delaware Court of Chancery ruled in favor of

   Fresenius and against Akorn, and issued a post-trial Memorandum and Opinion and found,

   among other things, that “Fresenius validly terminated the Merger Agreement because Akorn’s
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  representations regarding its compliance with regulatory requirements [in the Merger

  Agreement] were not true and correct, and the magnitude of the inaccuracies would reasonably

  be expected to result in a Material Adverse Effect [under the Merger Agreement]” and that

  “Fresenius validly terminated because Akorn materially breached its obligation to continue

  operating in the ordinary course of business between signing and closing.”

         185.       The Court’s 246-page Memorandum and Opinion, which explicitly cited

  hundreds of non-public trial exhibits and referred to hundreds more which were admitted into

  evidence as well as fifty-four deposition transcripts lodged with the Court, the Court of

  Chancery revealed that, in fact and contrary to Akorn’s denials:

         •   Akorn has pervasive data integrity and compliance problems that prevent Akorn
             from being able to meet FDA standards [Opinion at 164];

         •   Akorn has gone from representing itself as an FDA-compliant company with
             accurate and reliable submissions from compliant testing practices to a company in
             persistent, serious violation of FDA requirements with a disastrous culture of
             noncompliance. [Opinion at 178];

         •   Akorn’s own internal audit reports concluded that its products and facilities do not
             comply with cGMP and FDA requirements. [Opinion at 178];

         •   In addition to these reports, the factual record contains extensive evidence of other,
             widespread quality problems at Akorn [Opinion at 168];

         •   Akorn’s regulatory situation with respect to its lack of credibility with the FDA and
             its resultant inability to support its data, if called upon to do so by the FDA, had
             grown even worse since the July trial [Opinion at 112];

         •   A responsible remediation plan would include a complete review, which is highly
             likely to ncover more problems with data integrity that will call ANDAs and
             products into question and push out the timing of Akorn’s pipeline [Opinion at 182-
             183]; and

         •   these problems will have a financial impact on Akorn of approximately $900
             million [Opinion at 184].




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       186.   The Memorandum and Opinion also included specific findings of fact that directly

contradicted the denials in Akorn’s May 14, 2018 verified answer. For example:

 Fresenius’s Allegation           Akorn’s Public          October 1 Finding
                                  Verified Response

 In November 2014, Akorn learned Counterclaim              In fall 2014, [a chemist] noticed other
 that an employee had written Defendant denies the         entries in the same notebook and in two
 fraudulent data into the laboratory allegations           other notebooks that were not in her
 notebook of another employee                              handwriting. She reported it to [lab
 who was an Akorn QC chemist.                              supervisor] Burkert, who did not ask any
 Akorn also learned that a                                 questions or follow up. The chemist next
 laboratory notebook containing                            brought the issue to the attention of a
 testing data for numerous products                        quality manager who instructed all
 was missing. [¶ 69]                                       scientists to review their notebooks. The
                                                           review discovered numerous instances of
                                                           altered and missing data. In addition, two
                                                           of Burkert’s notebooks were missing.
 [T]he April 2016 Lake Forest Counterclaim                At Lake Forest, in April 2016, GQC found
 internal audit found that (as at Defendant denies the    that audit trails were not being reviewed
 Somerset) Akorn was failing in allegations               for even “minimum criteria,” including
 many       respects     to     meet                      “data        deletion”      and       “data
 requirements for the periodic                            manipulation.” GQC also found that
 review of audit trails. As of the                        “multiple Akorn staff members” had
 December 2017 audit, 20 months                           unauthorized          “system       access
 later, Akorn was still failing to do                     allowances” that enabled them to
 that. [¶60]                                              modify data and to delete audit trails.
                                                          When GQC visited Lake Forest again in
                                                          December 2017, the problems had not
                                                          been remediated
 Akorn’s data shows that it has Counterclaim              The FDA reported to Akorn in an August
 conducted tens of thousands of Defendant denies the      30, 2018 letter that “Akorn conducted trial
 trial injections, even just at its allegations           injections as a “widespread practice”
 Vernon Hills, Somerset and                               dating back to 2015, and “[n]o corrective
 Decatur sites. [¶79]                                     measures to prevent this practice were
                                                          implemented until” May 2018.”


       187.   The October 1, 2018 revelations caused Akorn’s stock price to fall 58.7%, from

$12.98 per share at close on September 28, 2018 to $5.36 per share at close on October 1, 2018.

       188.   On December 7, 2018, the Delaware Supreme Court affirmed the decision of the

Chancery Court.




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       189.     On January 9, 2019, Akorn disclosed that it received a FDA Warning Letter dated

January 4, 2019 in connection with the FDA’s inspection of its Decatur facility in April and May

2018. The Warning Letter cites the FDA’s concerns with Akorn’s cGMP and data integrity

practices. Specifically, the FDA states that Akorn’s “quality system does not adequately ensure

the accuracy and integrity of data to support the safety, effectiveness, and quality of the drugs you

manufacture.”

       190.     The revelation of the warning letter caused Akorn’s stock price to fall 11.6%, from

$3.94 per share at close on January 8, 2019 to $3.48 per share at close on January 9, 2019.

V.     DEFENDANTS’ MATERIALLY FALSE STATEMENTS AND OMMISSIONS OF
       MATERIAL FACT

       191.     During the Class Period, Defendants made a host of materially false and misleading

statements and omissions during Akorn’s conference calls with investors and in the Company’s

SEC filings, press releases, and investor presentations. Defendants’ false statements and omissions

generally fall into two related categories: (1) statements falsely representing that Akorn

substantially complied with applicable regulations governing the testing and manufacturing of its

drugs; and (2) statements that misleadingly touted Akorn’s lucrative drug pipeline, while failing

to disclose that the Company’s pervasive and egregious data integrity failures, which included the

submission of fraudulent data to the FDA, posed a highly serious risk to the Company’s ability to

seek approval for, and ultimately market, those pipeline drugs.

       192.     In addition, Akorn’s periodic SEC filings were misleading because they failed to

disclose material information required to be disclosed by Item 303 of Regulation S-K (17 C.F.R.

§ 229.303). Item 303 requires disclosure of “any known trends or uncertainties that have had or

that the registrant reasonably expects will have a material favorable or unfavorable impact on net

sales or revenues or income from continuing operations.” Akorn’s SEC periodic filings were


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misleading because, in contravention of Item 303, those filings failed to disclose that Akorn’s

facilities were rife with serious repeat cGMP violations, which exposed Akorn to “significant

regulatory and negative public perception risk” and jeopardized the Company’s ability to obtain

approval for, and successfully market, its drugs.

       A.      Defendants’ False and Misleading Statements During the Fourth
               Quarter of 2016

       193.    The Class Period begins on November 3, 2016, by which time the Quality Oversight

Committee of the Board chaired by Defendant Rai was “aware of significant and repeat problems

that Akorn was having in its quality function,” as Rai admitted under oath. On that day, Akorn

held a call with investors, led by Defendants Rai and Portwood, to discuss the Company’s third

quarter 2016 financial results, and, in particular, update the market on the status of the Form 483

that had been issued to Akorn in connection with its Decatur facility. As discussed above, in

August of 2016, Rai acknowledged that an FDA pre-approval inspection of Akorn’s Decatur

facility resulted in “a handful of observations” (i.e., a Form 483), but stated that the FDA had not

expressed any intent to conduct a re-inspection of the facility. On the Company’s November 3,

2016 earnings call, Rai announced, for the first time, that the FDA had, in fact, “concluded that a

re-inspection is necessary to determine if corrective and preventative actions have been put in place

and to determine if they’re effective” in assuring Akorn’s compliance with cGMP.

       194.    In light of this announcement, investors had a heightened focus on Akorn’s cGMP

compliance from the very beginning of the Class Period. On the November 3 earnings call, a

JPMorgan securities analyst asked Defendants about the state of the Company’s cGMP compliance

at its Decatur facility. Specifically, the analyst asked whether Akorn was “ready for a re-inspection

today or is there still more work to be done on that front?” Rai assured investors that the facility

was in regulatory compliance, stating, “[W]e’re ready for a reinspection as we speak right now.”


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Again, in response to an RBC Capital Markets analyst’s question about the Decatur Form 483, Rai

stated, “we are ready for the reinspection . . . from [a] preparedness standpoint, we are ready for

the reinspection.”

         195.   On that same November 3, 2016 earnings call, a Guggenheim Securities analyst

asked, “how many full-time employees have been hired to remediate the deficiency [at the Decatur

facility] and have you retained a quality consulting firm such as Lachman to do that?” Rai stated

in response, “I’m not sure what you mean by the hiring new employees for remediation. I mean

there is no remediation per se that we have we have to do at our Decatur site if that’s what you’re

referring to. We don’t have any outside consult amounts that are deployed.”

         196.   On the November 3, 2016 earnings call, a BofA Merrill Lynch analyst also asked

Rai, “Are there any parallels that you can draw between this 483 and other 483s that Akorn may

have received and how you handled those?” Rai assured investors that there were no facts to

suggest that Akorn would be unable to demonstrate cGMP compliance to the FDA, as it had in

past inspections, stating, “I don’t see [the Decatur 483 as] any different than what we have gone

through in the past.”

         197.   Defendants’ statements were materially false and misleading when made. Contrary

to Defendants’ statements that “there is no remediation” of cGMP compliance that Akorn had to

do at its Decatur site and that Akorn was “ready for” an FDA “reinspection,” Akorn’s facilities,

including the Decatur site, were rife with “significant and repeat” cGMP violations, as detailed

above.

         198.   Also on November 3, 2016, Akorn filed its third quarter financial results on Form

10-Q with the SEC. In that Form 10-Q, Akorn incorporated by reference the following statement

appearing in its most recent Form 10-K: “We are subject to extensive government regulations



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which if they change or we are not in compliance with, could increase our costs, subject us to

various obligations and fines, or prevent us from selling our products or operating our facilities.”

         199.   Defendants’ statements were materially false and misleading when made. It was

materially misleading for Defendants to state merely that “if” Akorn is out of compliance with

FDA regulations there would be consequences, when, at the time the statement was made,

Defendants knew that Akorn was affirmatively not in compliance with those regulations.

         200.   Further, as discussed above, Akorn’s Form 10-Q was materially misleading because

it failed to disclose the Company’s pervasive cGMP violations and regulatory noncompliance in

violation of Item 303.

         201.   On November 29, 2016, Portwood, among others, attended the Piper Jaffray

Healthcare Conference on behalf of Akorn. At that conference, a Piper Jaffray analyst asked:

                Now, one topic that has been top of mind for investors is the FDA
                observations, the Form 483 observations, at your Decatur, Illinois
                facility where you make primarily injectable products . . . . So just
                give us an update on where things stand with the reinspection.

Portwood responded, “[W]e are ready for them [the FDA] whenever they do show up . .

. . You’re always ready for them, and that’s where we stand right now.”

         202.   Underscoring investor concern about Akorn’s cGMP compliance, the Piper Jaffray

analyst pressed Portwood on his reassuring statements on the subject. Portwood confirmed that

“there’s nothing really more for us to do” in terms of GMP-related remediation, and the “work” of

“operat[ing] under cGMP type standards . . . has been done.” Specifically, the Piper Jaffray analyst

asked:

                Now, one more question on Decatur. So, I understand there’s no
                remediation activity that’s needed . . . . But I just want to drill down
                on, Duane [Portwood], your comments about being ready for
                reinspection. Does that mean that you believe you have addressed
                all of the observations or believe you’ve addressed them


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               adequately? Is that how I should interpret that comment about being
               ready.

Portwood responded, “Yes, I think that’s a fair interpretation of that comment . . . . So yes,

there’s nothing really more for us to do other than just operate under cGMP type standards and

. . . that work has been done.”

       203.    Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to state that there “was nothing really more for” Akorn to do to bring

the Decatur site into compliance with FDA regulations, that the “work” of “operating under cGMP

type standards” has already “been done,” and that Akorn was “ready for” the FDA “whenever they

do show up” because Akorn’s facilities, including the Decatur site, were rife with “significant and

repeat” cGMP violations, as detailed above.

       204.    On December 12, 2016, Akorn filed a Form 8-K with the SEC trumpeting the

results of the FDA’s reinspection of its Decatur facility. Akorn stated, “the U.S. Food and Drug

Administration (FDA) conducted a re-inspection of its Decatur, Illinois manufacturing facility

from December 5, 2016 to December 9, 2016, with no Form 483 observations.”

       205.    Defendants’ statement was materially false and misleading when made. It was

misleading for Defendants to state that the FDA inspector issued “no Form 483 observations,”

when Defendants knew that, notwithstanding the FDA inspector’s failure to issue a Form 483, the

Decatur facility was actually rife with cGMP violations. Indeed, Cerulean had reported to

Defendants just days earlier that Decatur’s data integrity controls were “insufficient to support

compliance with current data integrity expectations” – citing seven “critical” and seven “major”

data integrity deficiencies – and, “[a]s a result, Akorn currently shoulders significant regulatory

and negative public perception risk.” Even members of Akorn’s Board had expressed “concern




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around the repetitiveness of the issues between sites and across sites identified during audits &

external inspections.”

       206.    Defendants’ statements soothed investors’ concerns about the state of Akorn’s

cGMP compliance.         For instance, in a November 3, 2016 report, William Blair analysts

“maintain[ed] our Outperform rating as we believe the issues with the Decatur manufacturing site

are a question of ‘when’ not ‘if’ they will be resolved.” Likewise, Craig-Hallum analysts noted in

a November 4, 2016 report that “additional delays regarding resolution of the Decatur 483s is not

ideal . . . eventually (potentially soon), the remediation will be signed off on and the backlog of

injectable ANDA/NDA will start to bear fruit.” Similarly, in a November 7, 2016 report Deutsche

Bank analysts upgraded Akorn stock to a “buy” in the wake of Defendants’ statements: “Given

management’s confidence that clearing Decatur is a when not an if, we like the set up for the

stock from here, and are moving to a Buy rating (our PT remains $28).”

       207.    Again, in a December 12, 2016 report, Deutsche Bank analysts stated, “While

management had expressed confidence that it had implemented sufficient corrective actions to

address FDA’s concerns raised in the prior Form 483 (received in June) and that a re-inspection

could occur ‘sooner than later’ on the 3Q call, the timing of the re-inspection was quicker than we

had expected and removes a key overhang for the stock.” In another December 12 report, Jeffries

analysts noted that the “quick turnaround” on resolution of the Decatur Form 483 “is consistent

with mgt’s commentary that the infractions were not serious rather than more onerous violations

that some had postulated.”

       B.      Defendants’ False and Misleading Statements During the First Quarter
               of 2017

       208.    On January 10, 2017, Defendant Portwood attended the JPMorgan Healthcare

Conference on behalf of Akorn. At that investor conference, Portwood touted Akorn’s valuable


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drug pipeline, stating, “[W]e have a large pipeline of pending ANDAs and planned launches . . . .

As of the end of 2016, our pending ANDA count stood at 92 filings, which represent a total

addressable IMS market value of approximately $9.5 billion . . . . We are starting to see a steady

stream of product launches from our deep ANDA pipeline.”

       209.    Likewise, in its presentation to investors at that JPMorgan Healthcare Conference,

Defendants touted Akorn’s “large pipeline of pending ANDAs and planned launches,” with “92

filings pending with the FDA with a total addressable IMS market value of $9.5B” and “[o]ver 75

additional ANDAs in various stages of development.”

       210.    Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to tout Akorn’s “large” and “deep” “pipeline of pending ANDAs,” and

to state that the pipeline had a market value of “$9.5 billion,” with “[o]ver 75 additional ANDAs

in various stages of development,” while failing to disclose that the Company’s pervasive and

egregious data integrity failures, which included the submission of fraudulent data to the FDA,

posed a material risk to the Company’s ability to seek approval for, and ultimately market, those

pipeline products.

       211.    On March 1, 2017, Akorn held a call with investors, led by Rai and Portwood, to

discuss the Company’s fourth quarter and full-year 2016 financial results. On that call, Rai

highlighted that the FDA’s reinspection of the Decatur facility had resulted in a favorable “No

Action Indication” inspection classification. Rai stated, “As we indicated in our December 12,

2016 press release, the FDA completed their reinspection of our Decatur facility on December 9

and had no Form 483 observations. This resulted in achieving an NAI, or no action indicated,

status for our Decatur facility.”




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       212.     Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to state that the FDA inspector had failed to identify any cGMP

violations at the Decatur facility, and to tout that the Company had “achiev[ed] an NAI, or no

action indicated, status for our Decatur facility,” when Defendants knew that, notwithstanding the

FDA’s failure to issue a Form 483, (i) the Decatur facility was actually rife with cGMP violations,

(ii) Akorn had submitted false and manipulated data to the FDA, (iii) Cerulean had reported to

Defendants that Decatur’s data integrity controls were “insufficient to support compliance with

current data integrity expectations” – citing seven “critical” and seven “major” data integrity

deficiencies – and, “[a]s a result, Akorn currently shoulders significant regulatory and negative

public perception risk,” and (iv) even members of Akorn’s Board had expressed “concern around

the repetitiveness of the issues between sites and across sites identified during audits & external

inspections.”

       213.     On that same March 1, 2017 earnings call, Rai touted the FDA’s recent approval of

an ANDA coming out of the Decatur facility as demonstrating the Company’s ability to obtain

approval for its pipeline drugs. Rai stated, “As we announced yesterday, we have received the

approval of Mycophenolate, our first ANDA approval from the Decatur facility since the

reinspection. This implies that we should now expect to receive approvals for other filings,

including ephedrine, from our Decatur facility that was delayed due to the compliance status.”

       214.     Likewise, in response to a question from a JPMorgan analyst, Rai further assured

investors that Akorn would be “getting our products approved this year more than ever,” given the

FDA’s positive feedback on Akorn’s regulatory compliance. Rai stated:

                [I]n terms of the feedback that we receive from the FDA on our
                filings and the type of questions employees have been receiving, we
                feel very comfortable that we can get through getting our products
                approved this year more than ever. And in fact, we got an approval

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                yesterday which, while the press release was (inaudible) injection,
                and subsequent to us filing the press release, we got another product
                approved for Decatur. So I think we are very optimistic and feel
                good about the prospects there.

       215.     Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to tout ANDA approvals as demonstrating that “we should now expect

to receive approvals for other filings” from the Decatur facility and to state that Akorn would be

“getting our products approved this year more than ever” given the FDA’s positive feedback on

Akorn’s regulatory compliance, when Defendants knew that, notwithstanding the FDA inspector’s

failure to issue a Form 483, (i) the Decatur facility was actually rife with cGMP violations, (ii)

Akorn had submitted false and manipulated data to the FDA, (iii) Cerulean had reported to

Defendants that Decatur’s data integrity controls were “insufficient to support compliance with

current data integrity expectations” – citing seven “critical” and seven “major” data integrity

deficiencies – and, “[a]s a result, Akorn currently shoulders significant regulatory and negative

public perception risk,” and (iv) even members of Akorn’s Board had expressed “concern around

the repetitiveness of the issues between sites and across sites identified during audits & external

inspections.”

       216.     Also on March 1, 2017, Akorn filed its fourth quarter and full-year 2016 financial

results on Form 10-K with the SEC. In Akorn’s Form 10-K, Defendants stated that Akorn’s

“research and development expertise” and its “manufacturing expertise” were two of its five

“competitive strengths.”

       217.     Likewise, Akorn’s Form 10-K also repeatedly highlighted FDA approvals of its

facilities, conveying the impression that those sites were materially compliant with applicable

regulations. Defendants stated that “[f]our of our five manufacturing facilities are Food and Drug

Administration (“FDA”) approved,” specifically citing the Decatur, Somerset, Amityville and

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Hettlingen facilities. Defendants further stated that in 2016 “all of our FDA approved facilities

were inspected and ultimately received satisfactory status from the FDA.”

        218.   Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to tout the Company’s supposed “research and development” and

“manufacturing expertise” as giving Akorn a competitive advantage, when, in truth, the

Company’s R&D and manufacturing were in shambles, failed to meet basic regulatory

requirements, and were rife with serious cGMP violations which, far from providing the Company

with a competitive advantage, exposed Akorn to “significant regulatory and negative public

perception risk.”

        219.   Likewise, it was misleading for Defendants to tout that Akorn’s facilities were FDA

“approved,” had been “inspected and ultimately received satisfactory status,” that the Decatur

facility in particular received the “the highest [FDA inspection] status level available,” and to

highlight the positive impact Akorn’s facilities were having on the Company’s product pipeline,

when Defendants knew that (i) Akorn’s facilities, including the Decatur facility, were actually rife

with serious cGMP violations, (ii) Akorn had submitted false and manipulated data to the FDA,

(iii) Cerulean had reported to Defendants that the Company’s data integrity controls were

“insufficient to support compliance with current data integrity expectations,” and (iv) even

members of Akorn’s Board had expressed “concern around the repetitiveness of the issues between

sites and across sites identified during audits & external inspections.”

        220.   Akorn’s Form 10-K also stated “We are subject to extensive government

regulations which if they change or we are not in compliance with, could increase our costs, subject

us to various obligations and fine, or prevent us from selling our products or operating our

facilities.”



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       221.    Defendants’ statements were materially false and misleading when made. It was

materially misleading for Defendants to state merely that “if” Akorn is out of compliance with

FDA regulations there would be consequences, when, at the time the statement was made,

Defendants knew that Akorn was affirmatively not in compliance with those regulations.

       222.    Further, as discussed above, Akorn’s Form 10-K was materially misleading because

it failed to disclose the Company’s pervasive cGMP violations and regulatory noncompliance in

violation of Item 303.

       223.    Finally, on March 1, 2017, Akorn also issued a press release, and filed that press

release on Form 8-K with the SEC. In that press release, Defendants stated that Akorn “[r]eceived

FDA NAI status (No Action Indicated), the highest status level available, for the Company's

Decatur facility, following the December 2016 re-inspection. The Company’s three other FDA

approved manufacturing sites are in good standing following 2016 FDA inspections.”

       224.    Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to tout that the Company had “[r]eceived FDA NAI status (No Action

Indicated), the highest status level available, for the Company's Decatur facility” and to state that

the “Company’s three other FDA approved manufacturing sites are in good standing following

2016 FDA inspections,” when Defendants knew that, notwithstanding the FDA inspector’s failure

to issue Form 483s, (i) Akorn’s facilities, including the Decatur facility, were actually rife with

serious cGMP violations, (ii) Akorn had submitted false and manipulated data to the FDA, (iii)

Cerulean had reported to Defendants that the Company’s data integrity controls were “insufficient

to support compliance with current data integrity expectations,” and (iv) even members of Akorn’s

Board had expressed “concern around the repetitiveness of the issues between sites and across sites

identified during audits & external inspections.”



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       225.    Again, Defendants’ statements soothed the market’s concerns about Akorn’s

regulatory compliance and the state of its facilities. For instance, in a March 1, 2017 report,

William Blair analysts rated Akorn stock “Outperform,” and flagged for investors that “the

company noted that all of its FDA approved manufacturing sites are in good condition following

2016 inspections.” In that same report, the analysts highlighted “the company’s pipeline,”

repeating Defendants’ claims that the pipeline “represent[ed] $9.5 billion in total market value.”

Likewise, on March 6, 2017 Deutsche Bank analysts reported that “the Decatur facility issues

[were] behind the company,” and highlighted Akorn’s “large number of [pending] ANDAs

(generic applications) at the FDA.”

       C.      Defendants’ False and Misleading Statements During the Second
               Quarter of 2017

       226.    On April 24, 2017, Akorn filed a Form 8-K announcing that it had entered into the

Merger Agreement with Fresenius Kabi AG to be acquired for $34.00 in cash per share. In its

Form 8-K, Akorn stated that it would “operate its business in the ordinary course of business in all

material respects . . . prior to the consummation of the Merger.”

       227.    Defendants’ statement was materially false and misleading when made. Contrary

to Defendants’ statement that Akorn would “operate its business in the ordinary course of business

in all material respects,” Akorn failed to investigate and remediate its pervasive and egregious data

integrity violations, and, in fact, actively impeded the investigation of those violations by, among

other things, dramatically curtailing the scope of the Company’s compliance audits.

       228.    Akorn’s Form 8-K attached the Merger Agreement as Exhibit No. 2.1. In the

Merger Agreement, Defendants represented that Akorn was, and had been, compliant with FDA

regulations. Defendants stated,

               The Company and its Subsidiaries are, and to the Knowledge of the
               Company, since July 1, 2013 . . . have been in compliance with . . .
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               all applicable Laws (including all rules, regulations, guidance and
               policies) relating to or promulgated by the U.S. Food and Drug
               Administration.

       229.    Further, Defendants represented in the Merger Agreement that Akorn was, and had

since 2013 been, in material compliance with cGMP, particularly data integrity requirements, and

had conducted all trials and studies in accordance with standard medical and scientific practices

and Good Clinical Practices requirements.

               The Company and its Subsidiaries are and have been, since July 1,
               2013, in compliance with current good manufacturing practices
               and have maintained appropriate mechanisms, policies,
               procedures and practices to ensure the prompt collection and
               reporting of adverse event or any other safety or efficacy data,
               notifications, corrections, recalls and other actions required by Law
               related to their products, except where the failure to do so would not,
               individually or in the aggregate, reasonably be expected to have a
               Material Adverse Effect.

               Except as would not, individually or in the aggregate, reasonably be
               expected to have a Material Adverse Effect, since July 1, 2013 (i)
               all preclinical and clinical studies or tests sponsored by the
               Company and its Subsidiaries have been conducted in compliance
               with standard medical and scientific research procedures and
               applicable Law (including Good Clinical Practices requirements).

       230.    Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to state that Akorn was, and had been, materially compliant with FDA

regulations, including cGMP, and particularly with data integrity requirements, and that Akorn had

conducted all trials and studies in accordance with standard medical and scientific practices and

Good Clinical Practices requirements, when Defendants knew that (i) Akorn’s facilities were

actually rife with serious cGMP violations, (ii) Akorn had submitted false and manipulated trial

data to the FDA, (iii) Cerulean had reported to Defendants that the Company’s data integrity

controls were “insufficient to support compliance with current data integrity expectations,” and




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(iv) even members of Akorn’s Board had expressed “concern around the repetitiveness of the

issues between sites and across sites identified during audits & external inspections.”

          231.   In the Merger Agreement filed with Akorn’s Form 8-K, Defendants further stated

that the Company’s FDA filings contained no material misstatements or omissions. Defendants

stated:

                 All material reports, documents, claims and notices required or
                 requested to be filed, maintained, or furnished to any Healthcare
                 Regulatory Authority by the Company and its Subsidiaries since
                 July 1, 2013, have been so filed, maintained or furnished and, to the
                 Knowledge of the Company, were complete and correct in all
                 material respects on the date filed (or were corrected in or
                 supplemented by a subsequent filing), except where the failure to
                 do so (or the failure to be complete and correct) would not,
                 individually or in the aggregate, reasonably be expected to have a
                 Material Adverse Effect.

                                           *      *       *
                 Since July 1, 2013, neither the Company nor any of its Subsidiaries
                 (i) have made an untrue statement of a material fact or fraudulent
                 statement to the FDA or any other Governmental Authority, (ii)
                 have failed to disclose a material fact required to be disclosed to
                 the FDA or other Governmental Authority, (iii) have committed
                 any other act, made any statement or failed to make any statement,
                 that (in any such case) establishes a reasonable basis for the FDA
                 to invoke its Fraud, Untrue Statements of Material Facts, Bribery,
                 and Illegal Gratuities Final Policy.

          232.   Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to state that Akorn’s FDA filings, including those it “maintained,”

contained no material misstatements or omissions, when Defendants knew that Akorn had

submitted false and manipulated trial data to the FDA on multiple occasions and that Cerulean had

reported to Defendants that the Company’s data integrity controls were “insufficient to support

compliance with current data integrity expectations.”




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        233.   On May 4, 2017, Akorn filed its first quarter 2017 financial results on Form 10-Q

with the SEC. In the Form 10-Q, Defendants stated, “We are subject to extensive government

regulations which if they change or we are not in compliance with, could increase our costs, subject

us to various obligations and fine, or prevent us from selling our products or operating our

facilities.”

        234.   It was materially misleading for Defendants to state merely that “if” Akorn is out

of compliance with FDA regulations there would be consequences, when, at the time the statement

was made, Defendants knew that Akorn was affirmatively not in compliance with those

regulations.

        235.   Further, Akorn’s first quarter 2017 Form 10-Q discussed the Merger Agreement,

and stated that the Company would “operate its business in the ordinary course of business in all

material respects . . . prior to the consummation of the Merger.”

        236.   Defendants’ statement was materially false and misleading when made. Contrary

to Defendants’ statement that Akorn would “operate its business in the ordinary course of business

in all material respects,” Akorn failed to investigate and remediate its pervasive and egregious data

integrity violations, and, in fact, actively impeded the investigation of those violations by, among

other things, dramatically curtailing the scope of the Company’s compliance audits.

        237.   Akorn’s first quarter 2017 Form 10-Q also incorporated by reference the Merger

Agreement, including the statements described in paragraphs 226, 228, 229 and 231, above. These

statements were materially false and misleading when made for the reasons discussed in

paragraphs 227, 230 and 232, above.




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       238.    In addition, as discussed above, Akorn’s Form 10-Q was materially misleading

because it failed to disclose the Company’s pervasive cGMP violations and regulatory

noncompliance in violation of Item 303.

       239.    On May 22, 2017, Akorn filed its Proxy Statement on Schedule 14A in connection

with the proposed Fresenius acquisition. Akorn’s Proxy Statement instructed shareholders, “your

careful consideration of, and vote on, the merger agreement is important . . . . The merger cannot

be completed unless the merger agreement is approved by shareholders.” In the Proxy Statement,

Defendants specifically told shareholders, “We encourage you to carefully read the

accompanying proxy statement and the copy of the merger agreement attached as Annex A

thereto.” Akorn’s Proxy Statement included the Merger Agreement, including the statements

described in paragraphs 226, 228, 229 and 231, above. These statements were materially false and

misleading when made for the reasons discussed in paragraphs 227, 230 and 232, above.

       240.    In addition, Akorn’s Proxy Statement incorporated by reference Akorn’s 2016

Form 10-K, including the statements described in paragraphs 216, 217, 220 and 222, above. These

statements were materially false and misleading when made for the reasons discussed in

paragraphs 218, 219 and 221, above.

       241.    Finally, Akorn’s Proxy Statement also incorporated by reference Akorn’s first

quarter 2017 Form 10-Q, including the statements described in paragraphs 233 and 235, above.

These statements were materially false and misleading when made for the reasons discussed in in

paragraph 234 and 236, above.

       D.      Defendants’ False and Misleading Statements During the Third
               Quarter of 2017

       242.    On July 31, 2017, Akorn filed its second quarter 2017 financial results on Form 10-

Q with the SEC. In the Form 10-Q, Defendants stated that the Company would “operate its


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business in the ordinary course of business in all material respects . . . prior to the consummation

of the Merger.”

       243.    Defendants’ statement was materially false and misleading when made. Contrary

to Defendants’ statement that Akorn would “operate its business in the ordinary course of business

in all material respects,” Akorn failed to investigate and remediate its pervasive and egregious data

integrity violations, and, in fact, actively impeded the investigation of those violations by, among

other things, dramatically curtailing the scope of the Company’s internal audits.

       244.    Defendants also stated in Akorn’s second quarter 2017 Form 10-Q, “We are subject

to extensive government regulations which if they change or we are not in compliance with, could

increase our costs, subject us to various obligations and fine, or prevent us from selling our

products or operating our facilities.”

       245.    Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to state merely that “if” Akorn is out of compliance with FDA

regulations there would be consequences, when, at the time the statement was made, Defendants

knew that Akorn was affirmatively not in compliance with those regulations, that Akorn’s facilities

were actually rife with serious cGMP violations, and that Akorn had submitted false and

manipulated trial data to the FDA.

       246.    Defendants further stated in the Form 10-Q that there was only “[t]he possibility

that any or all of the various conditions to the consummation of the merger may not be satisfied or

waived.” Similarly, Defendants stated in the Form 10-Q that the “occurrence of any event, change

or other circumstance that could give rise to the termination of the Merger Agreement, including

in circumstances which would require Akorn to pay a termination fee or other expenses” could

affect the Company’s results.



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       247.    Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to state that there was only a “possibility” that the terms of the Merger

Agreement “may not be satisfied,” and to discuss the contingent “occurrence of [an] event [or]

change” that “could give rise to the termination of the Merger Agreement,” when at the time these

statements were made, Defendants were well aware that Akorn was affirmatively not in

compliance with FDA regulations, that Akorn’s facilities were actually rife with serious cGMP

violations, that Akorn had submitted false and manipulated trial data to the FDA, and that the terms

of the Merger Agreement were, as a matter of historical fact (rather than speculative possibility),

not satisfied and that circumstances under which the Merger Agreement could be terminated had

already occurred.

       248.    In addition, as discussed above, Akorn’s Form 10-Q was materially misleading

because it failed to disclose the Company’s pervasive cGMP violations and regulatory

noncompliance in violation of Item 303.

       E.      Defendants’ False and Misleading Statements During the Fourth
               Quarter of 2017

       249.    On November 1, 2017, Akorn filed its third quarter 2017 financial results on Form

10-Q with the SEC. In the Form 10-Q, Defendants stated that the Company would “operate its

business in the ordinary course of business in all material respects . . . prior to the consummation

of the Merger.”

       250.    Defendants’ statement was materially false and misleading when made. Contrary

to Defendants’ statement that Akorn would “operate its business in the ordinary course of business

in all material respects,” Akorn failed to investigate and remediate its pervasive and egregious data

integrity violations, and, in fact, actively impeded the investigation of those violations by, among

other things, dramatically curtailing the scope of the Company’s compliance audits.


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       251.    Defendants also stated in Akorn’s third quarter 2017 Form 10-Q, “We are subject

to extensive government regulations which if they change or we are not in compliance with, could

increase our costs, subject us to various obligations and fine, or prevent us from selling our

products or operating our facilities.”

       252.    Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to state merely that “if” Akorn is out of compliance with FDA

regulations there would be consequences, when, at the time the statement was made, Defendants

knew that Akorn was affirmatively not in compliance with those regulations, that Akorn’s facilities

were actually rife with serious cGMP violations, and that Akorn had submitted false and

manipulated trial data to the FDA.

       253.    Defendants further stated in the Form 10-Q that there was only “[t]he possibility

that any or all of the various conditions to the consummation of the merger may not be satisfied or

waived.” Similarly, Defendants stated in the Form 10-Q that the “occurrence of any event, change

or other circumstance that could give rise to the termination of the Merger Agreement, including

in circumstances which would require Akorn to pay a termination fee or other expenses” could

affect the Company’s results.

       254.    Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to state that there was only a “possibility” that the terms of the Merger

Agreement “may not be satisfied,” and to discuss the contingent “occurrence of [an] event [or]

change” that “could give rise to the termination of the Merger Agreement,” when at the time these

statements were made, Defendants were well aware that Akorn was affirmatively not in

compliance with FDA regulations, that Akorn’s facilities were actually rife with serious cGMP

violations, that Akorn had submitted false and manipulated trial data to the FDA, and that the terms



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of the Merger Agreement were, as a matter of historical fact (rather than speculative possibility),

not satisfied and that circumstances under which the agreement could be terminated had already

occurred.

       255.    In addition, as discussed above, Akorn’s Form 10-Q was materially misleading

because it failed to disclose the Company’s pervasive cGMP violations and regulatory

noncompliance in violation of Item 303.

       F.      Defendants’ False and Misleading Statements During the First Quarter
               of 2018

       256.    On February 26, 2018, Akorn issued a press release concerning the Merger with

Fresenius. In that press release, Defendants stated in part:

                       Akorn and Fresenius Kabi AG, with the assistance of outside
                       consultants, are investigating alleged breaches of FDA data
                       integrity requirements relating to product development at the
                       Company. To date, the Company’s investigation has not
                       found any facts that would result in a material impact on
                       Akorn’s operations and the Company does not believe this
                       investigation should affect the closing of the transaction
                       with Fresenius.

       257.    Defendants’ statement was materially false and misleading when made. It was

misleading for Defendants to state that Akorn’s “investigation has not found any facts that would

result in a material impact on Akorn’s operations” and that “investigation should [not] affect the

closing of the transaction with Fresenius,” when, in truth, Defendants’ audits and investigations

had demonstrated that Akorn’s facilities were rife with serious cGMP violations, had uncovered

hundreds of repeat, systemic data integrity deficiencies (including numerous “critical” and “major”

deficiencies), that Akorn’s most senior quality executive had intentionally submitted false trial

data to the FDA, that the Company had manipulated trial data by, among other things, conducting

trial injections despite explicit FDA warnings against the practice, and that Akorn had curtailed,



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prematurely terminated, or actively impeded these investigations in order to conceal evidence of

wrongdoing.

       258.    On February 28, 2018, Akorn filed its fourth quarter and full-year 2017 financial

results on Form 10-K with the SEC. In Akorn’s Form 10-K, Defendants stated that Akorn’s

“research and development expertise” and its “manufacturing expertise” were two of its five

“competitive strengths.”

       259.    Likewise, Akorn’s Form 10-K also repeatedly highlighted the FDA’s approval of

its facilities, conveying the impression that those sites were materially compliant with applicable

regulations. Defendants stated that “four of our five manufacturing facilities are Food and Drug

Administration (“FDA”) approved,” specifically citing the Decatur, Somerset, Amityville and

Hettlingen facilities. Moreover, after enumerating the FDA regulations to which Akorn was

subject, Defendants specifically stated that in 2017, “all of our FDA approved facilities were

inspected and ultimately received satisfactory status from the FDA.”

       260.    Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to tout the Company’s supposed “research and development” and

“manufacturing expertise” as giving Akorn a competitive advantage, when in truth the Company’s

R&D and manufacturing were in shambles, failed to meet basic regulatory requirements, and were

rife with serious cGMP violations which, far from providing the Company with a competitive

advantage, exposed Akorn to “significant regulatory and negative public perception risk.”

       261.    Likewise, it was misleading for Defendants to tout that Akorn’s facilities were FDA

“approved,” had been “inspected and ultimately received satisfactory status,” that the Decatur

facility in particular received the “the highest [FDA inspection] status level available,” when

Defendants knew that (i) Akorn’s facilities, including the Decatur facility, were rife with serious



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cGMP violations, (ii) Akorn had submitted false and manipulated data to the FDA, (iii) audits and

investigations of Akorn’s compliance had uncovered hundreds of repeat, systemic data integrity

deficiencies (including numerous “critical” and “major” deficiencies), and (iv) even members of

Akorn’s Board had expressed “concern around the repetitiveness of the issues between sites and

across sites identified during audits & external inspections.”

        262.   Akorn’s Form 10-K also stated, “We are subject to extensive government

regulations which if they change or we are not in compliance with, could increase our costs, subject

us to various obligations and fine, or prevent us from selling our products or operating our

facilities.”

        263.   Defendants’ statements were materially false and misleading when made. It was

materially misleading for Defendants to state merely that “if” Akorn is out of compliance with

FDA regulations there would be consequences, when, at the time the statement was made,

Defendants knew that Akorn was affirmatively not in compliance with those regulations.

        264.   Further, as discussed above, Akorn’s Form 10-K was materially misleading because

it failed to disclose the Company’s pervasive cGMP violations and regulatory noncompliance in

violation of Item 303.

        G.     Defendants’ False and Misleading Statements During the Second
               Quarter of 2018

        265.   On May 2, 2018, Akorn filed its first quarter 2018 financial results on Form 10-Q

with the SEC. Defendants stated in that Form 10-Q, “We are subject to extensive government

regulations which if they change or we are not in compliance with, could increase our costs, subject

us to various obligations and fines, or prevent us from selling our products or operating our

facilities.”




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        266.   Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to state merely that “if” Akorn is out of compliance with FDA

regulations there would be consequences, when, at the time the statement was made, Defendants

knew that Akorn was affirmatively not in compliance with those regulations, that Akorn’s facilities

were actually rife with serious cGMP violations, and that Akorn had submitted false and

manipulated trial data to the FDA.

        H.     Defendants’ False and Misleading Statements During the Third
               Quarter of 2018

        267.   On August 1, 2018, Akorn filed its second quarter 2018 financial results on Form

10-Q with the SEC. Defendants stated in that Form 10-Q, “We are subject to extensive government

regulations which if they change or we are not in compliance with, could increase our costs, subject

us to various obligations and fines, or prevent us from selling our products or operating our

facilities.”

        268.   Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to state merely that “if” Akorn is out of compliance with FDA

regulations there would be consequences, when, at the time the statement was made, Defendants

knew that Akorn was affirmatively not in compliance with those regulations, that Akorn’s facilities

were actually rife with serious cGMP violations, and that Akorn had submitted false and

manipulated trial data to the FDA.

        I.     Defendants’ False and Misleading Statements Published on Akorn’s
               Website Throughout the Class Period

        269.   Throughout the Class Period, Defendants published on Akorn’s website a

California Compliance Policy and Declaration. In this Declaration, Defendants stated that Akorn

had “designated a Compliance Officer to implement and oversee the Compliance Program as a

priority of the Company’s commitment to lawful conduct of its businesses.” Defendants stated

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that the Compliance Officer “will ensure that good faith reports of unlawful conduct relating to the

Company’s operations or practices are duly investigated” and that “if evidence of a violation exists,

the Compliance Offer will recommend an appropriate course of action to management. The

Compliance Officer will relate the outcome of investigations and actions taken to the Board of

Directors.”

       270.    Defendants further assured investors that Akorn strictly enforced legal and

regulatory compliance, stating that “it is the policy of the Company that the standards of conduct

and procedures for compliance with the laws and regulation applicable to the Company’s business

set forth in the Compliance Program shall be consistently enforced through appropriate

disciplinary mechanisms.”

       271.    At the conclusion of Akorn’s Declaration, Defendants affirmed that the statements

therein reflected the current state of Akorn’s business: “to our knowledge as of the date of this

declaration, Akorn is in compliance with our Comprehensive Compliance Program, as described

here, and with California Health & Safety Code sections 119400 and 119402.”

       272.    Defendants’ statements were materially false and misleading when made. It was

misleading for Defendants to state that “commitment to lawful conduct of its businesses” was a

“priority” for Akorn, that Akorn’s Compliance Officer “will ensure,” and to Defendants’

knowledge had ensured, that reports of misconduct would be investigated, that the Compliance

Officer would, and had, “recommend[ed] an appropriate course of action to management” when

evidence of a violation was uncovered, and that the Company’s “standards of conduct and

procedures for compliance with the laws and regulation” were “consistently enforced through

appropriate disciplinary mechanisms.” Contrary to these statements, Akorn was not “committed”

to conducting its business lawfully, but rather pervasively, repeatedly, and egregiously violated



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FDA regulations, and rather than investigate and penalize wrongdoers, Akorn actively impeded

investigations of fraud and data manipulation involving its most senior executives.

       273.    Also throughout the Class Period, Defendants stated on Akorn’s website:

               Our management and employee workforce are committed to
               successfully deploying our company’s Quality Policy to all aspects
               of our firm - assuring continued high quality, safe and effective
               Akorn products for our customers. This commitment will be
               maintained through having the right people doing the right things,
               the first time, every time. This includes . . . A management team that
               is accountable for effective review and support of quality, through
               the prioritization, resourcing, and timely execution of quality-
               conscious decision-making.

       274.    Defendants’ statements were materially false and misleading when made.

Defendants’ statements that Akorn “will” maintain its commitment to quality by “doing the right

things, the first time, every time” and that the Company’s management team was “accountable”

for “support of quality” through “the prioritization, resourcing, and timely execution of quality-

conscious decision-making” when, in truth, Akorn was not “committed” to doing the right things,

the first time, every time,” but rather pervasively, repeatedly, and egregiously violated FDA

regulations, and rather than hold management “accountable” for supporting critical quality

requirements, Akorn actively allowed its senior executives to engage in fraud and data

manipulation and attempted to shield them from investigation.

VI.    ADDITIONAL ALLEGATIONS OF DEFENDANTS’ SCIENTER

       275.     All Section 10(b) Defendants acted with scienter in that they knew, or recklessly

disregarded, that their statements were false and misleading when made. While the facts set forth

above sufficiently demonstrate these Defendants’ scienter, additional facts further demonstrating

scienter are set forth below.

       276.    Defendants knew that, contrary to their various and repeated public statements, that

Akorn was not, and had not been, materially compliant with FDA regulations, including cGMP,
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and particularly data integrity requirements, and that Akorn had not conducted all trials and studies

in accordance with standard medical and scientific practices and Good Clinical Practices

requirements. In truth, Akorn’s facilities were actually rife with serious cGMP violations. As

discussed in internal audit reports prepared by GQC in April 2016, June 2016, October 2016, and

December 2016, and in audit reports prepared for Akorn by Akorn’s third-party auditor, Cerulean,

Akorn was riddled with severe, pervasive, and repeat violations of FDA data integrity

requirements, which Akorn’s auditors noted exposed the Company to “significant regulatory and

negative public perception risk.” Akorn’s severe data integrity violations, which were documented

in audit and investigative reports that were provided to Defendants, include the following:

       (a)     Akorn submitted false, fraudulent, and manipulated data to the FDA with
               respect to at least three ANDAs, including the ANDA for azithromycin,
               which was pending at the time of the Vote. Specifically, with respect to the
               azithromycin ANDA, Akorn submitted data showing the drug passed a test
               that was never performed. With respect to Akorn’s ANDA for olopatadine,
               Akorn engaged in the prohibited practice of “testing into compliance,”
               running successive tests for the drug until a passing result was achieved.
               With respect to Akorn’s ANDA for cyclopentolate made a deliberate change
               in a testing procedure to force a passing result;

       (b)     As Akorn’s third party auditor NSF Health Sciences reported, Akorn
               engaged in the improper practice of running “trial injections” – a form of
               “testing into compliance” whereby a drug is tested in an unreported
               “practice” trial to ensure it passes – on a massive scale between 2012 and
               2016. As NSF found, Akorn performed tens of thousands of improper trial
               injections with respect to dozens of products, at multiple sites, and
               numerous different employees. Notably, Akorn continued to engage in this
               improper practice even after being warned by the FDA to desist;

       (c)     As GQC’s April 2016 audit of Akorn’s Lake Forest site found, Akorn staff
               members had unauthorized “system access allowances” that allowed them
               to modify and manipulate data as well as to delete audit trails. Moreover,
               among other things, GQC found that audit trails at Lake Forest were not
               being reviewed for even basic data issues. As a result, GQC concluded that
               the Lake Forest site had “unmitigated compliance risks associated with
               Data Integrity”;




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     (d)   As GQC’s June 2016 audit of Akorn’s Vernon Hills facility found, there
           were critical data integrity issues involving Akorn’s failure to implement
           proper controls for its computer systems. Specifically, Akorn had failed “to
           assure that only authorized personnel make changes in master product and
           control records.” Likewise, the site was “unable to record audit trails” and
           could not identify the users performing certain tests. Current Akorn VP of
           Quality Operations Kim Wasserkrug testified in the Delaware Litigation
           that these are “problem[s] that violate[] FDA guidelines”;

     (e)   The Quality Oversight Committee of Akorn’s Board, which included
           Executive Defendants Rai and Silverberg and Board Defendants Johnson,
           Weinstein, and Tambi and others (including Chief Operating Officer Bruce
           Kutsinky, Executive Vice President of Pharmaceutical Operations Steven
           Lichter, Executive Vice President of Global Quality Compliance Jaspreet
           Gill and Akorn Chief Human Resources Officer Greg Lawless), was
           regularly briefed on and discussed Akorn’s data integrity and cGMP
           deficiencies. As Johnson stated in a June 2016 email to Akorn’s head of
           quality, Mark Silverberg, there was “continued non-compliance by
           employees, supervisors and quality assurance staff” throughout Akorn.
           Specifically, Johnson wrote to Silverberg that Johnson continued “to be
           concerned that our position always seems to be that the FDA got it wrong
           and we are just fine. I do not think we are fine. I think there are signals that
           we are missing. As the leader of the quality function, I do not understand
           how you can tolerate the continued non-compliance by employees,
           supervisors and quality assurance staff. We have dogged [sic] a bullet a
           number of times, but at some point, our number will be up unless we, once
           and for all, fix the underlying reasons why our people do not adhere to
           procedures. Why do we not see an effort to do this?”;

     (f)   As GQC’s October 2016 audit of Akorn’s Amityville site found, Akorn did
           not comply with 21 CFR 211.68(b), which states that “appropriate controls
           shall be exercised over computer or related systems to assure those changes
           in master production and control records or other records are instituted only
           by authorized personnel.” GQC found that in connection with certainty
           viscosity tools, multiple users had administrator access, data files had been
           overwritten, two unsaved tests were executed and several notebook entries
           were missing. Moreover, there was no instrument use log to record testing
           activity and no data backups had been performed on certain instruments;

     (g)   As Rai testified in the Delaware Litigation, by November of 2016, the start
           of the Class Period, he and the other Quality Oversight Committee members
           were “aware of significant and repeat problems that Akorn was having in
           its quality function”;

     (h)   As Cerulean reported in a reported issued to Akorn on December 5, 2016,
           the Company’s Decatur site was riddled with severe cGMP violations. The

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           Decatur facility was Akorn’s largest manufacturing site, originated an
           outsized portion – approximately 35% – of the ANDAs for the Company’s
           all-important drug pipeline, and was the principal manufacturing site for
           Akorn’s high-margin injectable drugs. Moreover, Decatur was also the site
           at which Akorn manufactured its most lucrative and important new drug,
           ephedrine sulfate, which accounted for approximately 21% of Akorn’s
           second quarter 2016 net revenue and approximately 23% of Akorn’s third
           quarter 2016 net revenue. Thus, it would have been devastating to Akorn’s
           business if the marketability or approvability of drugs originating from the
           Decatur site were jeopardized by regulatory noncompliance;

     (i)   As Cerulean reported in December 2016, Akorn “fail[ed] to exercise
           sufficient controls to prevent data loss.” Among other things, the Cerulean
           report found that over 200,000 files of raw data used to verify sterile
           container closure acceptance for products produced since May 2015 have
           been destroyed, in direct violation of multiple regulatory recordkeeping
           regulations. Akorn also had “insufficient data integrity controls (both
           procedural and technical) to prevent unauthorized changes to electronic
           data.” Among other things, several of Akorn’s computer systems did not
           have required audit trail capabilities, certain computer systems had audit
           trails turned off, data was not properly backed up, and that the Company did
           not have required written policies concerning data integrity compliance and
           the retention of raw laboratory data. Akorn’s computer systems also had
           insufficient controls, allowing anyone with Akorn network access to add,
           delete, or change data used in the production and testing of drug products;

     (j)   As Cerulean reported in December 2016, Akorn had “insufficient regulated
           record archival controls and retention for records involved in drug product
           manufacture, testing and release, and quality records.” Among other things,
           Akorn did not adequately retain backup tapes (in direct conflict with federal
           regulations), had insufficient data backup procedures and systems, did not
           have periodic or routine verifications of backups and, as Cerulean
           explained, had a “woefully out-of-date” collection of archived paper
           records;

     (k)   As Cerulean reported in December 2016, Akorn “fail[ed] to have sufficient
           controls over computerized equipment used in regulated processes and used
           to create, manipulate, edit, store, et al regulated data for drug product safety
           and quality testing and release.” Among other things, Cerulean found that
           users had “uncontrolled access” to modify or delete data and could adjust
           the date and time on computerized systems. Moreover, Akorn’s computer
           systems were not properly audited or reviewed to verity user access and the
           data showed that multiple user accounts had been deleted on the Akorn
           network, leaving the Company unable to accounted for regulated data.
           Cerulean principal John Avellanet testified in the Delaware Litigation that
           these deficiencies showed that the Akorn Decatur data center “does not meet

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           minimum industry standards for a simple Tier 1 data center, much less
           regulatory guidance expectations and IT industry best practices.” Avellanet
           further testified that these problems were unprecedented and “call[] into
           question all of the test data, all of the production data, all of the view
           material specifications” of Akorn;

     (l)   As Cerulean reported in December 2016, Akorn had “inadequate validation
           of computerized systems to ensure the ongoing suitability of systems for
           Akorn processes, data, and personnel”;

     (m)   As Cerulean reported in December 2016, Akorn had “inadequate control
           over approved specifications for drug product and raw materials, and failure
           to ensure that product testing data is derived from compliance with
           established specifications and standards.” Among other things, as Cerulean
           found, all Akorn personnel with network access had modify, add, delete,
           permissions to shared network folders, calling into “serious question the
           identity, strength, quality, safety, purity, and sterility of Akorn’s drug
           products.” This practice was in direct conflict with multiple federal
           regulations;

     (n)   As Cerulean reported in December 2016, Akorn had “inadequate corrective
           action and preventative action and out-of-specification investigations,
           explanations, and corrective actions.” Among other things, internal audit
           findings and external audit or inspectional findings were not properly
           tracked and that Akorn’s investigation and corrective action programs fail
           to prevent re-occurrence of failures. Even more troubling, Cerulean found
           that 58% of out-of-specification investigations referenced “personnel” as
           the root cause of the problem, significant highly than the industry average
           of 15-18% as personnel as root cause;

     (o)   As Cerulean reported in December 2016, Akorn has “inadequate training
           processes and training effectiveness”;

     (p)   As Cerulean reported in December 2016, Akorn had an “inadequate and
           insufficient internal audit program”;

     (q)   Cerulean also audited cGMP compliance at Akorn’s Somerset site, and
           issued its report on that facility in May 2017. As Cerulean reported in May
           2017, Akorn had a “[f]ailure of the Akorn IT department, as a core
           component of a 21st century quality control management structure, to ensure
           reliability of the controls around data used to make, test, release, and surveil
           sterile drug product.” Cerulean noted that this deficiency “raises serious
           questions about the reliability of any data integrity controls and thus the
           trustworthiness of any electronic information used through Akorn to
           make safety, efficacy and quality decisions”;



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       (r)    As Cerulean reported in May 2017, Akorn had a “[f]ailure of senior
              management with executive responsibility to ensure an effective quality
              system is implemented and maintained throughout Akorn.” In particular, as
              Cerulean explained, this deficiency was so severe that it could expose
              management to potential criminal liability under the Park doctrine (see
              United States v. Park, 421 U.S. 658 (1975)); and

       (s)    As third party data integrity auditor Lachman Consultants (which was
              retained by Fresenius to audit Akorn’s data integrity compliance) reported
              (as memorialized in a June 10, 2018 report issued by Lachman Director Ron
              George), “data was not documented contemporaneously” within Akorn,
              “electronic records were not traceable to a corresponding notebook entry,”
              indicating “backdating [] records,” “calling into serious question” Akorn’s
              data and “thus the safety and efficacy of Akorn’s products.” Lachman’s
              audit examined three different Akorn sites: Vernon Hills, Somerset, and
              Decatur.

       277.   Additionally, Defendants knew through Silverberg, Akorn’s most senior Quality

Assurance officer at Akorn who oversaw more than 500 employees, reported directly to the CEO

and communicated directly with Board members, that Akorn was rife with serious cGMP

violations. For example:

       (a)    As discussed above, Akorn admits that Silverberg “was fired” for his
              culpable participation in violating data integrity regulations, including, as
              Wasserkrug testified in the Delaware Litigation, failing to “direct the
              withdrawal of an ANDA submitted to the FDA for the drug azithromycin
              after being told that submission contained likely false or fabricated data.”
              Among other things, as discussed above, Silverberg personally authorized
              the submission of data he knew was false to the FDA, and then attempted
              to conceal his fraud from regulators. For example:

       (b)    Silverberg was aware of numerous serious deficiencies in Akorn’s cGMP
              even before the start of the Class Period. For instance, in June 2016, Ron
              Johnson, an Akorn Board member with FDA experienced, wrote to
              Silverberg:

                             As the leader of the quality function, I do not
                             understand how you can tolerate the
                             continued non-compliance by employees
                             supervisors and quality assurance staff . . . .
                             We have dogged [sic] a bullet a number of
                             times, but at some point our number will be
                             up unless we, once and for all, fix the
                             underlying reasons why our people do not

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                          adhere to procedures. Why do we not see an
                          effort to do this?

     (c)   In July of 2016, Silverberg learned that false test data had been used to
           support the azithromycin ANDA submitted to the FDA in 2012.
           Specifically, a chemist reported forged entries in her lab notebook reporting
           positive results from tests that she did not, and, in fact, could not, have
           performed. Silverberg failed to direct that the ANDA be withdrawn. The
           chemist also identified entries for six additional products that were not made
           by her, and reported that two of her lab notebooks were missing – clear
           violations of data integrity requirements. Silverberg failed to report any of
           these violations to the FDA.

     (d)   By November 2016, the beginning of the Class Period, even Akorn’s Board
           was “aware of significant and repeat problems that Akorn was having in its
           quality function,” the function headed by Silverberg.

     (e)   In August 2017, Sherwani, Somerset’s head of quality, told Silverberg that
           she “fully underst[ood] that we are on the cusp of the [Fresenius]” merger,
           but Somerset was “in a state of jeopardy as it relates to data integrity,” yet
           IT had refused to address the issue.

     (f)   Also in August 2017, as discussed above, Silverberg knowingly authorized
           the submission of additional false and fabricated data in response to a CRL
           issued by the FDA seeking additional information in connection with the
           azithromycin ANDA. Silverberg knew that the submission included the
           false and fabricated data that had been submitted with the original ANDA
           in 2012, along with new fabricated data that had not been previously
           submitted to the FDA.

     (g)   That same month, Sherwani, along with Somerset’s general manager,
           repeatedly urged Silverberg to withdraw the ANDA because it contained
           fabricated data. In an August 28, 2017 email, Sherwani asked Silverberg,
           “Are you allowing Regulatory Affairs to continue to submit inaccurate
           information?”

     (h)   As discussed above, Silverberg actively attempted to conceal his fraud.
           Silverberg instructed Somerset not to open a formal investigation. Then,
           once whistleblower letters forced Akorn to finally open an investigation,
           Silverberg told Sherwani “clearly this investigation is focused on the three
           of us,” i.e. Silverberg, Sherwani, and the Somerset general manager Michael
           Stehn. Silverberg told Sherwani that “he would never discuss [the
           submission of fraudulent data] with legal,” and “if anything came of it, he
           might, you know, take the paper and eat it if he had to.” .

     (i)   Silverberg also received each of the audit reports detailing Akorn’s
           widespread cGMP violations described above, including reports issued by

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               GQC, Cerulean, and NSF both before and during the Class Period. Indeed,
               in early 2017, Silverberg was tasked with developing “an overall roadmap
               for data integrity approval,” which included implementing the remedial
               actions identified by Cerulean. Thus, Silverberg was not only aware of data
               integrity deficiencies identified in these audits, he was personally tasked
               with addressing them. Predictably, however, Akorn failed to actually
               develop any such roadmap.

       (j)     Again, while Silverberg’s knowledge of Akorn’s widespread data integrity
               failures demonstrates his scienter by itself, like Rai, Silverberg also had a
               significant financial motive to misrepresent the true state of affairs at Akorn
               as a result of the pending merger with Fresenius. Silverberg stood to receive
               more than $9 million in compensation if the Merger was consummated.
               Silverberg knew that, in order to ensure that a merger was consummated at
               a high price, it was essential that Akorn keep its pervasive data integrity
               problems under wraps because disclosure of those problems would
               jeopardize FDA approval of Akorn’s valuable pipeline drugs, and would
               scare away any merger partner due to (1) the risk that the FDA might delay
               approval of (or even deny approval to) those drugs, (2) the risk that the FDA
               might impose additional sanctions on Akorn, and (3) the severe costs
               associated with remediating Akorn’s widespread data integrity failures.
               Indeed, Wasserkrug’s testimony makes clear that Silverberg and other
               members of Akorn management canceled further Cerulean audits after
               receiving the firm’s highly critical assessments of the Decatur and Somerset
               facilities “because of the merger.”

       A.      Defendant Rai

       278.    Defendant Rai has admitted in his testimony during the Delaware Litigation that he

personally received a steady stream of audit reports (and was aware of and had easy access to many

others) that listed pervasive critical data integrity failures across Akorn’s sites, and catalogued

Akorn’s persistent refusal to remediate them. Astonishingly, however, Rai testified that he never

bothered to read these reports, while repeatedly assuring investors that Akorn was in compliance

with cGMP and data integrity regulations. Such conduct exemplifies his conscious disregard of

the truth and extreme recklessness, at minimum. Rai testified at trial:

               Q:     And, in fact, when Akorn’s internal audit people circulate
                      internal audits, you personally are on the circulation list;
                      right?

               A:     Yes.

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               Q:      But you don’t read them, correct?

               A:      No


       279.    Had Rai bothered to read the audit reports that he received and which were

otherwise available to him – a duty which he plainly had as a member of the Quality Oversight

Committee, the Company’s CEO, and its public spokesperson to investors – he would have read

the following third party audit reports:

       o       Cerulean’s assessments of Akorn’s regulatory violations. In 2016, Cerulean
               was hired to audit Akorn’s compliance with federal regulations in its
               Decatur and Somerset facilities. Cerulean’s principal, John Avellanet,
               testified that Akorn was one of the “top three worst” of the more than 120
               pharmaceutical companies he has assessed—an especially notable fact
               given that Cerulean only reviews companies that are troubled to begin with.
               Avellanet testified that certain of Akorn’s data integrity failures were so
               fundamental that he would not expect to see them “at a company that made
               Styrofoam cups.” An Akorn Board member described them as “very
               damning.”


       o       Cerulean’s GAP assessment of Akorn’s Decatur facility was issued to
               Akorn on December 5, 2016. Cerulean concluded that Akorn’s data
               integrity controls were “insufficient to support compliance with current data
               integrity expectations and US Food and Drug Administration (FDA)
               regulatory requirements,” and, “[a]s a result, Akorn currently shoulders
               significant regulatory and negative public perception risk.” Cerulean’s
               Decatur assessment identified seven “critical” and seven “major” data
               integrity deficiencies, as set forth in more detail above.


       o       Cerulean’s assessment of Akorn’s Somerset facility was issued to Akorn on
               May 31, 2017, and found several additional critical and major findings.
               Cerulean’s first critical finding was directly aimed at executive leadership, and
               involved the “failure of senior management with executive responsibility to
               ensure an effective quality system is implemented and maintained throughout
               Akorn[.]” The second critical finding involved the Company’s IT department,
               which Cerulean found was “unwilling” to be part of the quality structure.
               Cerulean found that the IT department’s refusal to assist with quality controls
               and data integrity was “deeply troubling,” and “raises serious questions about
               the reliability of any data integrity controls and thus the trustworthiness of any

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               electronic information used throughout Akorn to make safety, efficacy and
               quality decisions,” as explained above. Indeed, these finding were so severe
               and pervasive that Cerulean directly warned Akorn’s senior management that it
               was exposed to potential criminal liability.


       280.    Despite his knowledge that these extraordinary reports existed, Rai testified in the

Delaware Litigation that, even as of July 10, 2018, he still had not bothered to read them—a failure

which can only be characterized (at minimum) as the height of severe recklessness for a CEO who

repeatedly spoke to investors on subjects related to the reports:

               Q:      But isn’t it true that after all of that activity, you’ve actually
                       never read the Cerulean reports?

               A:      That is correct.

       281.    Rai also received numerous internal audit reports showing that the Company’s

severe data integrity violations persisted unabated—because Rai and other senior Akorn

executives disregarded those violations. For example, as noted above, in a June 2016 report, GQC

identified a critical data integrity failure at the Vernon Hills site related to unauthorized computer

access, as well as the inability of laboratory equipment to record audit trails, both of which violate

FDA guidance. Yet Akorn did nothing. In September 2017, another GQC audit found the same

violations, reporting that the corrective actions had “been halted and remain incomplete” and that

the failure to remediate the violations “presents undue risk to the site’s ongoing operations.”

       o       In an April 2016 report, GQC found that audit trails were not being
               reviewed at Lake Forest, even for “data manipulation,” and that multiple
               Akorn employees had unauthorized “system access allowances,” permitting
               them to modify or manipulate data and delete audit trails. When GQC
               audited Lake Forest again in December 2017, the same problems persisted.

       o       In an April 2017 report, GQC identified similar problems at Somerset
               involving improper access and lack of audit trail reviews. Yet again, by
               December 2017, these problems had not been remediated.




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       o       GQC conducted a verification audit of Somerset in December 2017, and
               issued its report on this audit in February 2018. The report listed 22 open
               items dating back to GQC’s prior 2014 audit of Somerset, including
               significant items showing that the HPLC was not recording audit trails.

       o       In other reports issued during 2017, GQC found 27 data integrity
               deficiencies at Hettlingen, 15 at Cranbury, five at Amityville and five at
               Lake Forest.

       282.    Defendant Rai’s knowledge of and access to these reports, by itself, is sufficient to

demonstrate his scienter.

       283.    Further, Defendant Rai repeatedly discussed the troubling findings in these reports

with other senior Akorn executives during meetings of the Quality Oversight Committee. As

discussed above, Rai, Silverberg (Executive Vice President of Global Quality Assurance), Jaspreet

Gill (Executive Vice President of Global Quality Compliance), and several other executives and

Board Defendants were on Akorn’s Quality Oversight Committee. They all had direct knowledge

of Akorn’s pervasive data integrity violations because those violations were regularly reported up

to and discussed by the committee. Quality Oversight Committee members received and routinely

discussed all the audit reports discussed above showing repeat, pervasive data integrity failures

and violations of FDA regulations across numerous Akorn sites as well as the Company’s failure

to timely address those failures.

       284.    By no later than June 2016, Quality Oversight Committee members were discussing

their serious concern about Akorn’s persistent and systemic data integrity failures. Specifically, in

June 2016, Board Defendant Ron Johnson – another committee member – wrote an email to Mark

Silverberg stating that, “I continue to be concerned that our position always seems to be that the

FDA got it wrong and we are just fine. I do not think we are fine, I think there are signals that we

are missing. As the leader of the quality function, I do not understand how you can tolerate the

continued non-compliance by employees, supervisors and quality assurance staff. We have

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dogged [sic] a bullet a number of times, but at some point, our number will be up unless we, once

and for all, fix the underlying reasons why our people do not adhere to procedures. Why do we

not see an effort to do this?”

       285.     Similarly, in the Delaware Action, Rai testified that he knew of Akorn’s “significant

and repeated problems” because it was discussed at Quality Oversight Committee meetings:

                Q.     [Y]ou were on a Board committee at the time [November 11,
                       2016] that was aware of significant and repeated problems
                       that Akorn was having in its quality function; isn’t that right?

                A:     Yes.

       286.     Further, minutes of a December 7, 2016 Quality Oversight Committee meeting

reflect that Rai, Johnson, Silverberg, Gill and other committee members again discussed concerns

that Akorn’s internal and external audits had identified repeated quality failures between and across

the Company’s sites. The minutes list the individuals noted above as attendees, among several

other senior Akorn executives, and state, “Ron [Johnson] then expressed his concern around the

repetitiveness of issues between sites and across sites identified during audits and external

inspections.”

       287.     Despite the fact that committee members were discussing serious concerns about

Akorn’s pervasive data integrity problems with Rai and Silverberg, the Quality Oversight

Committee stopped meeting in June 2017. The committee did not meet again until March 2018—

after Akorn was forced to notify the FDA that Silverberg had submitted false data to the agency.

The fact that Rai did not take proactive steps to repair the pervasive data integrity problems of

which he (along with other committee members) was aware is further evidence of Rai’s complete

disregard for those problems.




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        288.   Indeed, despite the fact that Rai was well aware of these repeated quality failures

and data integrity violations, and that committee members repeatedly discussed very serious

concerns with Rai about these problems, Rai took no meaningful steps to remediate the violations

for years. In fact, Akorn’s pervasive data integrity deficiencies continued to exist until the end of

the Class Period, as Rai knew.

        289.   For example, on March 18, 2018, GQC issued an internal audit report setting forth

its assessment of “the current state of actions taken by the respective sites [Decatur and Somerset]

in response to the 3rd Party Data Integrity Audits that were conducted by Cerulean Associates

LLC.” The audit reported noted that Akorn had done nothing to remediate the deficiencies at

Somerset since receiving the May 31, 2017 Cerulean report. As to Decatur, the GQC report stated

that Akorn had “failed to appropriately investigate and remediate” Cerulean’s findings from

December 2016, and had completed only “32% of corrective actions.”

        290.   Rai’s failure to implement any significant corrective measures persisted even after

he was appointed to serve as the Chairman of the Executive Steering Committee of the DIRP, a

project that was put in place in April 2018 after Fresenius discovered Akorn’s pervasive data

integrity violations and terminated the merger agreement. An internal Akorn report dated June 7,

2018 and titled “Data Integrity Remediation Project – ESC Update” listed no fewer than 402 data

integrity violations – including scores that had existed for multiple years, such as those at Decatur

and Somerset. Yet even as late as Rai’s testimony given in the Delaware Litigation on July 11,

2018, Rai admitted that the Data Integrity Remediation Project had no plan for remediating the

Company’s hundreds of data integrity violations, and had no timeline for when it will actually

remediate the data integrity violations – even though many of the findings, he admitted, “are years

old”:



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              Q:      Mr. Rai, you’ve been working on this data remediation project going
                      back looking at findings that are years old. The project doesn’t yet
                      have a timetable; right?

              A:      No.

              Q:      Is that right? No, meaning it does not have a timetable; correct?

              A:      We’re still assessing that, yes.

              Q:      You’re still assessing your timetable; is that right?

              A:      Yes.

       291.   There can be no doubt that Akorn’s years-long pattern of disregard for its data

integrity failures comes from the very top of the Company. In a November 30, 2017 email to

Avellanet, Patty Franke, who was Akorn’s Data Integrity Quality Manager, stated that the

Company’s persistent disregard of its responsibility to remediate was part of a Company-wide

“culture” that “management” had created. Franke wrote:

       “I am in charge of data integrity, along with my other 4 jobs. … I am working 70+
       hours a week and making 0 progress on our DI [data integrity] remediation efforts.
       I have found a ton more issues and we have put a handful of controls in place to
       improve data going forward, but they are superficial at best, in my honest opinion.
       We have a culture issue that I am struggling to overcome. We have a knee jerk-jerk
       fire anyone involved in any sort of data integrity concerns, but don’t question why
       we have so many people involved in such issues. It isn’t the individual—it is the
       culture and the message from management.”

       292.   In addition to all the above, Rai also personally received the 2016 employee survey

stating that Silverberg was: (1) instructing employees not to cooperate with GQC, the unit that

performed Akorn’s internal audits, and (2) had submitted misleading information to the FDA.

Specifically, on January 12, 2017, Defendants Rai and Portwood, , and several other senior

executives including Silverberg were emailed the survey by Bethany Anderson, who wrote, “All,

thank you for spending some time this morning to go through the Akorn 2016 Employee Survey

Results. I have attached the presentation that we walked through as well as company-wide

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comments.” In that survey, an employee wrote that Silverberg “has actually counseled his staff to

not speak to Global Quality Compliance staff and to not share information with GQC . . . . He has

also provided misleading information to regulatory bodies including the US FDA.”

       293.    Rai’s scienter is also demonstrated by the fact that, after Silverberg was terminated

from his position as Executive Vice President, he personally decided that Silverberg would

continue to be employed by Akorn as a “quality consultant.” Notably, Rai decided to retain

Silverberg—at a salary of $250,000—even after Rai knew that Silverberg had submitted false data

to the FDA, and had told another Akorn executive that he would destroy drafts of materials related

to the Company’s internal investigation into that fraudulent submission. Rai testified as follows

in the Delaware Action:

               Q.     And you did say that Mr. Silverberg had been fired; right?

               A.     Yes.

               Q.     But, of course, he’s still being paid by the company; right?

               A.     Yes.

               Q.     And he used to be paid – before the fraudulent submission,
                      he was paid at the rate of $318,000 per year.

               A.     That’s correct.

               Q.     And you made the personal decision that you would reduce
                      his salary to $250,000 a year; correct?

               A.     Correct.

               Q.     And he’s now quality consultant or advisor?

               A.     Yes.

               Q.     And his only job is to assist Akorn in litigation; yes?

               A.     Correct.



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       294.    An executive and company that were truly trying to “do the right thing” would have

immediately severed all ties with Silverberg after they learned he had submitted fraudulent data to

the FDA. Yet Rai decided to keep Silverberg employed by Akorn, at a handsome salary – and as

a “quality consultant” nonetheless – supposedly to gain a litigation advantage.

       295.    Rai’s scienter is also demonstrated by the fact that Silverberg reported directly to

Rai throughout the Class Period. Another one of Rai’s direct reports was Jaspreet Gill, Executive

Vice President of Global Quality Compliance for Akorn. Thus, Rai had ultimate responsibility for

data integrity, and regular, direct communication with the executives responsible for it “on the

ground” in a day-to-day capacity. As explained above, Akorn’s data integrity violations were

extremely serious, pervasive, repeated across numerous sites, and allowed to go unremediated for

years. Such blatant and systemic violations could not have gone unnoticed by the executive whose

direct reports included Silverberg and Gill.

       296.    While Rai’s knowledge of Akorn’s widespread data integrity failures demonstrates

his scienter by itself, Rai also had a significant financial motive to misrepresent the true state of

affairs at Akorn. As set forth above, in the first quarter of 2016, the Company decided to pursue

merger possibilities. Rai had enormous financial incentives in ensuring that an acquisition of

Akorn was consummated at a high price.          Rai stood to receive more than $14 million in

compensation if the Merger with Fresenius was consummated. Rai also knew that, in order to

accomplish his goal of ensuring that a merger was consummated at a high price, it was essential

that Akorn keep its pervasive data integrity problems under wraps because disclosure of those facts

would jeopardize FDA approval of Akorn’s valuable pipeline drugs, and would scare away any

merger partner due to (1) the risk that the FDA might delay approval of (or even deny approval to)

those drugs, (2) the risk that the FDA might impose additional sanctions on Akorn, and (3) the



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severe costs associated with remediating Akorn’s widespread data integrity failures. This is, in

fact, precisely what has occurred with Fresenius.

       B.       Defendant Portwood

       297.     Defendant Portwood knew of, or recklessly disregarded, Akorn’s pervasive and

egregious cGMP violations, including serious violations of data integrity requirements. As

discussed above data integrity was a critical issue facing Akorn during the Class Period and

received outsized attention from analysts and investors. As such, Portwood personally made

numerous materially misleading statements affirming Akorn’s cGMP compliance, many directly

in response to analyst questions on the subject. At the time he made those false and misleading

statements, Portwood had ready access to numerous reports laying bare Akorn’s egregious cGMP

violation discussed above. Indeed, knowledge of Akorn’s profound cGMP failures was widely

known inside Akorn, and even the Company’s Board had expressed “concern around the

repetitiveness of the issues between sites and across sites identified during audits & external

inspections.”

       298.     Portwood was personally alerted to some of the most egregious and alarming of

Akorn’s numerous data integrity violations. For instance, Portwood received the January 12, 2017

Akorn employee survey, in which an employee at the Company’s corporate headquarters reported

that Silverberg “has actually counseled his staff to not speak to Global Quality Compliance staff

and to not share information with GQC . . . He has also provided misleading information to

regulatory bodies including the US FDA.” The employee further reported, “The same type of

behavior is occurring within the Vernon Hills R&D function.” Other employees also reported

failures to implement and enforce data integrity requirements: “Data integrity should not be made

an issue creating fear among the employees of l[o]sing the job.”



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       299.    While Portwood’s knowledge of Akorn’s widespread data integrity failures

demonstrates his scienter by itself, like Rai, Portwood also had a significant financial motive to

misrepresent the true state of affairs at Akorn as a result of the pending merger with Fresenius.

Portwood stood to receive more than $4 million in compensation if that Merger was consummated.

Like Rai, Portwood also knew that, in order to ensure that a merger was consummated at a high

price, it was essential that Akorn conceal its pervasive data integrity problems because disclosure

of those facts would jeopardize FDA approval of ANDAs for Akorn’s valuable pipeline drugs, and

would scare away any merger partner due to (1) the risk that the FDA might delay approval of (or

even deny approval to) those drug applications, (2) the risk that the FDA might impose additional

sanctions on Akorn, and (3) the severe costs associated with remediating Akorn’s widespread data

integrity failures. This is, in fact, is precisely what has occurred with Fresenius.

       C.      Defendants Weinstein, Johnson and Tambi

       300.    Defendants Johnson, Weinstein and Tambi were at all relevant times members of

the Quality Oversight Committee that was responsible for overseeing Akorn’s FDA compliance

efforts. The committee regularly received Akorn’s troubling internal audit reports and was well

aware of the ongoing data integrity crisis at Akorn. Indeed, in June 2016, Defendant Johnson

expressed his concerns to Silverberg, writing “I continue to be concerned that our position always

seems to be that the FDA got it wrong and we are just fine. I do not think we are fine, I think there

are signals that we are missing. As the leader of the quality function, I do not understand how you

can tolerate the continued non-compliance by employees, supervisors and quality assurance staff.

We have dogged [sic] a bullet a number of times, but at some point, our number will be up unless

we, once and for all, fix the underlying reasons why our people do not adhere to procedures. Why

do we not see an effort to do this?”



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       301.    Further, as detailed above, Rai testified in the Delaware Litigation that by

November of 2016 the members of the Quality Oversight Committee were “aware of significant

and repeat problems that Akorn was having in its quality function.” Likewise, minutes of the

December 6, 2016 Quality Oversight Committee meeting, which was attended by Defendants

Johnson, Weinstein and Tambi, reflect the committees concern Akorn’s failure to remediate its

ongoing data integrity problems. For example, Defendant Tambi himself “stated that it appears

that the implementation of corrective actions is lacking or not timely.” Similarly, Defendant

Johnson “expressed his concern around the repetitiveness of issues between sites and across sites

identified during audits & external inspections.”

       302.    Notably, these Defendants knew or recklessly disregarded the seriousness of

Akorn’s data integrity problems, and at least Defendants Johnson and Tambi knew better. Indeed,

Akorn’s annual shareholder proxy statement for 2017 (and Company website) specifically tout

Defendant Johnson’s and Defendant Tambi’s expertise with respect to FDA compliance

matters. For example, the proxy and website state that:

               Mr. Johnson brings to Akorn’s Board extensive experience in
               managing regulatory and compliance requirements of the FDA,
               particularly in pharmaceutical, medical device, biologic and
               biotechnology industries, as well as a deep knowledge and
               understanding of FDA policies and procedures regarding cGMP
               compliance, quality control processes and outcomes reporting
               gained from his years of providing specialized consulting services
               to governments, pharmaceutical companies and healthcare
               institutions and working at the FDA.

       303.    Likewise, the proxy and website state that Defendant Tambi “brings to Akorn’s

Board extensive pharmaceutical industry experience, particularly FDA knowledge and drug

development and commercialization expertise.”




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       304.    As of March 20, 2017, Board Defendants Johnson, Weinstein and Tambi

respectively stood to receive Merger proceeds of over $4.8 million, $3.1 million, and $2.3 million.

VII.   LOSS CAUSATION

       305.    Defendants’ misrepresentations and omissions of material fact alleged above in

Section V artificially inflated the price of Akorn securities during the Class Period.

       306.    The artificial inflation created by Defendants’ alleged misrepresentations and

omissions was removed from the prices of Akorn common stock in direct response to information

revealed in the disclosures alleged in this Section, through which facts that partially corrected

Defendants’ prior misrepresentations and omissions of material fact were revealed and/or the risks

concealed by such misrepresented and omitted material facts partially materialized.

       307.    On February 26, 2018, after the NASDAQ closed for trading, Fresenius and Akorn

released statements regarding the ongoing data integrity investigations at Akorn. Fresenius

announced that:

               Fresenius is conducting an independent investigation, using external
               experts, into alleged breaches of FDA data integrity requirements
               relating to the product development at Akorn, Inc. The Management
               and Supervisory Boards of Fresenius will assess the findings of that
               investigation. The consummation of the transaction may be affected
               if the closing conditions under the merger agreement are not met.

       308.    Following this revelation, the price of Akorn common stock tumbled despite

Akorn’s releasing its own statement denying its data integrity problems:

               Akorn and Fresenius Kabi AG, with the assistance of outside
               consultants, are investigating alleged breaches of FDA data
               integrity requirements relating to product development at the
               Company. To date, the Company’s investigation has not found
               any facts that would result in a material impact on Akorn’s
               operations and the Company does not believe this investigation
               should affect the closing of the transaction with Fresenius.




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         309.   The February 26, 2018 announcements caused Akorn’s stock price to plummet

38%, from $30.28 per share at close on February 26, 2018 to $18.65 per share at close on February

27, 2018. Akorn’s common stock fell another 9.1% on February 28, 2018, to close at $16.94 per

share.

         310.   Although Akorn had stated that the investigation had “not found any facts that

would result in a material impact on Akorn’s operations and the Company does not believe this

investigation should affect the closing of the transaction with Fresenius,” on Sunday April 22,

2018, Fresenius publicly stated that it was indeed terminating the Merger Agreement due to

Akorn’s widespread data integrity failures and violations of FDA regulations. Akorn’s share price

dropped further on the news, falling 33.8% from $19.70 per share at close on April 20, 2018 to

$13.05 per share at close on April 23, 2018.

         311.   On October 1, 2018, the Delaware Chancery Court further revealed the extent of

Akorn’s data integrity failures and rejected Akorn’s denials, after a review of hundreds of exhibits

not previously made available to the public. The October 1, 2018 announcement caused Akorn’s

stock price to decline 58.7%, from $12.98 per share at close on September 28, 2018 to $5.36 per

share at close on October 1, 2018.

         312.   On January 9, 2019, Akorn disclosed that it received a warning letter, dated January

4, from the FDA related to an inspection of Akorn’s Decatur, Illinois manufacturing facility in

April and May of 2018. Among other things, the warning letter stated that FDA found Akorn’s

“methods, facilities, or controls for manufacturing, process, packing, or holding do not conform to

CMGP” regulations. The revelation of the warning letter caused Akorn’s stock price to fall 11.6%,

from $3.94 per share at close on January 8, 2019 to $3.48 per share at close on January 9, 2019.




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       313.    Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the damages suffered by Plaintiffs and other Class members. Had Defendants disclosed complete,

accurate, and truthful information concerning these matters during the Class Period, Plaintiffs and

other Class members would not have purchased or otherwise acquired Akorn securities, or would

not have purchased or otherwise acquired these securities at the artificially inflated prices that they

paid. It was also entirely foreseeable to Defendants that misrepresenting and concealing these

material facts from the public would artificially inflate the price of Akorn securities and that the

ultimate disclosure of this information, and/or the materialization of the risks concealed by

Defendants’ material misstatements and omissions, would cause the price of Akorn securities to

decline.

       314.    The economic loss, i.e., damages, suffered by Plaintiffs and other Class members

directly resulted from Defendants’ materially false and misleading statements and omissions of

material fact, which artificially inflated the price of the Company’s securities, when the truth was

revealed and/or the risks previously concealed by Defendants’ material misstatements and

omissions materialized. As a result of the previously misrepresented and concealed material

information and risks that were disclosed on February 26, 2018 and April 22, 2018, and the

corresponding substantial declines in the price of Akorn common stock as the market absorbed

this information, Plaintiffs and other Class members have suffered economic loss.

VIII. PRESUMPTION OF RELIANCE

       315.    At all relevant times, the market for Akorn’s common stock was efficient for the

following reasons, among others:

       (a)     Akorn’s stock met the requirements for listing, and was listed and actively
               traded on the NASDAQ, a highly efficient and automated market;

       (b)     As a regulated issuer, Akorn filed periodic reports with the SEC and the
               NASDAQ;

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       (c)     Akorn regularly communicated with public investors via established market
               communication mechanisms, including through regular disseminations of
               press releases on the national circuits of major newswire services and
               through other wide-ranging public disclosures, such as communications
               with the financial press and other similar reporting services; and

       (d)     Akorn was followed by numerous securities analysts employed by major
               brokerage firms, including Deutsche Bank, Royal Bank of Canada and Piper
               Jaffray, and who wrote reports which were distributed to those brokerage
               firms’ sales force and certain customers. Each of these reports was publicly
               available and entered the public market place.

       316.    As a result of the foregoing, the market for Akorn’s common stock reasonably

promptly digested current information regarding Akorn from all publicly available sources and

reflected such information in the price of Akorn’s common stock. All purchasers of Akorn

common stock during the Class Period suffered similar injury through their purchase of Akorn

common stock at artificially inflated prices, and a presumption of reliance applies.

       317.    A Class-wide presumption of reliance is also appropriate in this action under the

United States Supreme Court holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S.

128 (1972), because the claims asserted herein against Defendants are predicated upon omissions

of material fact for which there is a duty to disclose.

IX.    INAPPLICABILITY OF THE STATUTORY SAFE HARBOR AND BESPEAKS
       CAUTION DOCTRINE

       318.    The statutory safe harbor or bespeaks caution doctrine applicable to forward-

looking statements under certain circumstances does not apply to any of the false and misleading

statements pleaded in this Complaint. None of the statements complained of herein was a forward-

looking statement. Rather, they were historical statements or statements of purportedly current




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facts and conditions at the time the statements were made, including statements about Akorn’s

compliance with FDA regulations.

       319.    To the extent that any of the false and misleading statements alleged herein can be

construed as forward-looking, those statements were not accompanied by meaningful cautionary

language identifying important facts that could cause actual results to differ materially from those

in the statements. As set forth above in detail, then-existing facts contradicted Defendants’

statements regarding Akorn’s data integrity compliance.             Given the then-existing facts

contradicting Defendants’ statements, any generalized risk disclosures made by Akorn were not

sufficient to insulate Defendants from liability for their materially false and misleading statements.

       320.    To the extent that the statutory safe harbor does apply to any forward-looking

statements pleaded herein, Defendants are liable for those false forward-looking statements

because at the time each of those statements was made, the particular speaker knew that the

particular forward-looking statement was false, and the false forward-looking statement was

authorized and approved by an executive officer of Akorn who knew that the statement was false

when made.

X.     CLASS ACTION ALLEGATIONS

       321.    This securities class action is brought on behalf of persons and entities that

purchased Akorn common stock between November 3, 2016 and January 8, 2019, inclusive and

were damaged thereby. Excluded from the Class are Defendants and other directors and officers

of Akorn, their families and affiliates, and any investment funds, companies or trusts controlled by

or benefitting these individuals.

       322.    The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial benefits to



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the parties and the Court. Akorn has more than 125 million shares of common stock outstanding,

owned by hundreds or thousands of investors.

       323.    There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class which

predominate over questions which may affect individual Class members include:

       a)      Whether Defendants violated the Exchange Act;

       b)      Whether Defendants misrepresented material facts;

       c)      Whether Defendants’ statements omitted material facts necessary in order
               to make the statements made, in light of the circumstances under which they
               were made, not misleading;

       d)      Whether Defendants knew or recklessly disregarded that their statements
               and/or omissions were false and misleading;

       e)      Whether the prices of Akorn’s securities were artificially inflated;

       f)      Whether Defendants’ conduct caused the members of the Class to sustain
               damages;

       g)      Whether the 20(a) Defendants were “control persons;” and

       h)      The extent of damage sustained by Class members and the appropriate
               measure of damages.

       324.    Plaintiffs’ claims are typical of those of the Class because Plaintiffs and the Class

sustained damages from Defendants’ wrongful conduct.

       325.    Plaintiffs will adequately protect the interests of the Class and have retained counsel

experienced in class action securities litigation. Plaintiffs have no interests which conflict with

those of the Class.

       326.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy




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XI.     COUNTS

        327.    The claims in Counts I and II below are brought under Sections 10(b) and 20(a) of

the Exchange Act against variously Akorn, the Executive Defendants (Defendants Rai and

Portwood) and the Board Defendants (Weinstein, Johnson and Tambi).

        328.    Plaintiffs assert these claims on behalf of themselves and all persons or entities who

purchased or otherwise acquired Akorn common stock during the Class Period from November 3,

2016 through January 8, 2019, inclusive.

                                           COUNT I
                   For Violations Of Section 10(b) Of The Exchange Act And
                               Rule 10b-5 Against All Defendants

        329.    Plaintiffs repeat and reallege each and every allegation contained above (other than

disclaimers of fraud claims) as if fully set forth herein.

        330.    During the Class Period, Defendants Akorn, Rai, Portwood, Weinstein, Johnson and

Tambi carried out a plan, scheme, and course of conduct which was intended to and, throughout

the Class Period, did: (i) deceive the investing public, including Plaintiffs and other Class

members, as alleged herein; and (ii) cause Plaintiffs and other members of the Class to purchase

Akorn securities at artificially inflated prices.

        331.    Akorn and Defendants Rai, Portwood, Weinstein, Johnson and Tambi: (i) employed

devices, schemes, and artifices to defraud; (ii) made untrue statements of material fact and/or

omitted to state material facts necessary to make the statements not misleading; and (iii) engaged

in acts, practices, and a course of business which operated as a fraud and deceit upon the purchasers

of the Company’s securities in an effort to maintain artificially high market prices for Akorn’s

securities in violation of Section 10(b) of the Exchange Act, 15 U.S.C. §§ 78j(b), and Rule 10b-5

promulgated thereunder, 17 C.F.R. § 240.10b-5.



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       332.    Akorn and Defendants Rai, Portwood, Weinstein, Johnson and Tambi, individually

and in concert, directly and indirectly, by the use, means or instrumentalities of interstate

commerce and/or of the mails, engaged and participated in a continuous course of conduct to

conceal adverse material information about the Company’s financial well-being, operation and

prospects.

       333.    During the Class Period, Akorn and Defendants Rai, Portwood, Weinstein, Johnson

and Tambi made the false statements specified above, which they knew or recklessly disregarded

to be false or misleading in that they contained misrepresentations and failed to disclose material

facts necessary in order to make the statements made, in light of the circumstances under which

they were made, not misleading.

       334.    Akorn and Defendants Rai, Portwood, Weinstein, Johnson and Tambi had actual

knowledge of the misrepresentations and omissions of material fact set forth herein, or recklessly

disregarded the true facts that were available to them. Akorn and Defendants Rai, Portwood,

Weinstein, Johnson and Tambi engaged in this misconduct to conceal Akorn’s true condition from

the investing public and to support the artificially inflated prices of the Company’s securities.

       335.    Plaintiffs and the Class have suffered damages in that, in reliance on the integrity

of the market, they paid artificially inflated prices for Akorn’s securities. Plaintiffs and the Class

would not have purchased the Company’s securities at the prices they paid, or at all, had they been

aware that the market prices for Akorn’s securities had been artificially inflated by the fraudulent

course of conduct by Akorn and Defendants Rai, Portwood, Weinstein, Johnson and Tambi.

       336.    As a direct and proximate result of wrongful conduct by Akorn and Defendants Rai,

Portwood, Weinstein, Johnson and Tambi, Plaintiffs and the other members of the Class suffered

economic loss and damages in connection with their respective purchases of the Company’s



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securities during the Class Period as the prior artificial inflation in the price of Akorn’s securities

was removed over time.

        337.     By virtue of the foregoing, Akorn and Defendants Rai, Portwood, Weinstein,

Johnson and Tambi violated Section 10(b) of the Exchange Act and Rule 10b-5 promulgated

thereunder.

                                       COUNT II
                         For Violations Of Section 20(a) Of The
        Exchange Act Against The Executive Defendants And The Board Defendants

        338.     Plaintiffs repeat, incorporate, and reallege each and every allegation set forth above

as if fully set forth herein.

        339.     As alleged above, Akorn, the Executive Defendants, and Defendants Weinstein,

Johnson and Tambi each violated Section 10(b) and Rule 10b-5 thereunder by their acts and

omissions as alleged in this Complaint.

        340.     The Executive Defendants and Defendants Weinstein, Johnson and Tambi acted as

controlling persons of Akorn within the meaning of Section 20(a) of the Exchange Act, 15 U.S.C.

§ 78t(a).     By virtue of their high-level positions, participation in and/or awareness of the

Company’s operations, direct involvement in the day-to-day operations of the Company, and/or

intimate knowledge of the Company’s actual performance, and their power to control the

materially false and misleading public statements about Akorn during the Class Period, the

Executive Defendants and Defendants Weinstein, Johnson and Tambi had the power and ability to

control the actions of Akorn and its employees. By reason of such conduct, the Executive

Defendants and Defendants Weinstein, Johnson and Tambi are liable pursuant to Section 20(a) of

the Exchange Act.




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XII.   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment as follows:

       A.      Determining that this action is a proper class action under Rule 23 of the Federal

               Rules of Civil Procedure;

       B.      Awarding compensatory damages in favor of Plaintiffs and other Class members

               against all Defendants, jointly and severally, for all damages sustained as a result

               of Defendants’ wrongdoing, in an amount to be proven at trial, including interest

               thereon;

       C.      Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

               this action, including attorneys’ fees and expert fees; and

       D.      Awarding such equitable/injunctive or other further relief (including, but not

               limited to, rescission) as the Court may deem just and proper.

XIII. JURY DEMAND

            341.      Plaintiffs hereby demand a trial by jury.




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DATED: April 22, 2019                             Respectfully Submitted,

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